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 9     Esvin Fernando Arredondo Rodriguez and A.F.A.J
10
11                           UNITED STATES DISTRICT COURT
                        FOR THE CENTRAL DISTRICT OF CALIFORNIA
12                                 WESTERN DIVISION
13
14 ESVIN FERNANDO ARREDONDO                            Case No.: CV 22-02845-JLS-JC
15 RODRIGUEZ INDIVIDUALLY AND
   A.F.A.J., A MINOR, BY HER GUARDIAN                 PLAINTIFFS’ EVIDENTIARY
16 AD LITEM, JEFFREY HAMILTON,                        OBJECTIONS TO DEFENDANT’S
17                                                    PROFFERED EVIDENCE IN
                    Plaintiffs,                       SUPPORT OF MOTION FOR
18                                                    SUMMARY JUDGMENT AND TO
19                                                    THE DECLARATION OF JAMES
                                                      DE LA CRUZ
20                 v.

21                                                    Hearing Date: February 16, 2024
                                                      Time: 10:30 a.m.
22 UNITED STATES OF AMERICA,                          Place: First Street Courthouse,
23                                                    Courtroom 8A
                           Defendant.
24                                                     Honorable Josephine L. Staton,
25                                                     United States District Judge
26
27
28
       PLAINTIFFS’ EVIDENTIARY OBJECTIONS TO DEFENDANT’S PROFFERED EVIDENCE IN SUPPORT OF
       MOTION FOR SUMMARY JUDGMENT AND TO THE DECLARATION OF JAMES DE LA CRUZ
       CASE NO. CV 22-02845-JLS-JC
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 1               Pursuant to the Initial Standing Order for Cases Assigned to Judge Josephine L.
 2     Staton, Plaintiffs Esvin Fernando Arredondo Rodriguez and A.F.A.J. respectfully submit
 3     the following Evidentiary Objections to the evidence referenced in Defendant’s Statement
 4     of Undisputed Facts in support of its Motion for Summary Judgment and to the Declaration
 5     of James De La Cruz.
 6
 7     I.        EVIDENTIARY OBJECTIONS TO EVIDENCE REFERENCED IN
 8     DEFENDANT’S STATEMENT OF UNDISPUTED FACTS
 9                      Defendant’s Statement of             Grounds for Plaintiffs’ Objection
                            Undisputed Facts
10
            1.     U.S. Border Patrol (“BP”) is a          Assumes facts not in evidence; lack of
11                                                         foundation (Federal Rule of Evidence
                   component of U.S. Customs and
12                                                         (“FRE”) 901)
                   Border Protection (“CBP”), which is     The CBP Organizational Structure
13                                                         chart referenced in this item was not
                   an agency within DHS.
14                                                         produced in discovery and cannot be
                                                           found at the URL provided, which
15                                                         states, “We’re sorry, we can’t find the
                   (See CBP Organizational Structure
16                                                         page you’re looking for. It might have
                   (“CBP Org. Chart”), available at
                                                           been removed, changed its name, or is
17                 https://www.cpb.gov/sites/default/
                                                           otherwise unavailable.”
                   files/assets/documents/2023-Mar/
18                 cbp-org-chart-compliant-03-
                                                           Because it is impermissible to offer
19                 2023.pdf.)
                                                           new evidence with reply papers,
20                                                         Defendant may not offer new support
                                                           for this assertion. See Morris v.
21                                                         Guetta, No. 12-cv-684, 2013 WL
22                                                         440127, at *8 (C.D. Cal. Feb. 4, 2013)
                                                           (“New evidence submitted as part of a
23                                                         reply is improper.”).
24
            2.     BP possesses responsibility for         More prejudicial than probative;
25                                                         misleading (FRE 403)
                   apprehending individuals who enter
26                                                         The asserted fact is inadmissible
                                                           because “its probative value is
27
28                                                   -1-
       PLAINTIFFS’ EVIDENTIARY OBJECTIONS TO DEFENDANT’S PROFFERED EVIDENCE IN SUPPORT OF
       MOTION FOR SUMMARY JUDGMENT AND TO THE DECLARATION OF JAMES DE LA CRUZ
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 1                   Defendant’s Statement of             Grounds for Plaintiffs’ Objection
                         Undisputed Facts
 2
                the United States between ports of       substantially outweighed by a danger
 3                                                       of . . . unfair prejudice, confusing the
                entry.
 4                                                       issues[ and] misleading the jury[.]”
                                                         (FRE 403) (This proposition applies to
 5                                                       all following objections made pursuant
                (Declaration of David Pinchas
 6                                                       to FRE 403.)
                “Pinchas Decl.” at ¶ 2, Ex. 2 (H.N.
 7                                                       To the extent that this asserted fact
                Depo) at 18:11-24, 51:1-13;
 8                                                       implies that it is a comprehensive
                Declaration of Christina Marquez         description of BP’s responsibilities or
 9                                                       an assertion that BP is the only agency
                “Marquez Decl.” at ¶ 6, Ex. 5 (H.E.
10                                                       within CBP with such responsibilities,
                Depo) at 101:3-10)                       it is false and misleading. BP’s
11                                                       responsibility is much more extensive
12                                                       than asserted. BP’s “primary mission”
                                                         is to detect and prevent the illegal
13                                                       entry of individuals into the US,” both
14                                                       between ports of entry and at official
                                                         border stations.
15
16                                                       To that end, BP operates and controls
                                                         border stations across sectors of the
17                                                       U.S. border, including the Laredo
18                                                       sector in Texas, where the events at
                                                         issue in this case occurred. See Border
19                                                       Patrol Overview, U.S. Customs and
20                                                       Border Protection website,
                                                         https://www.cbp.gov/border-
21                                                       security/along-us-borders/overview
22                                                       (last visited Jan. 16, 2024), Ex. B;
                                                         Border Security - Sectors and Stations,
23                                                       U.S. Customs and Border Protection,
24                                                       https://www.cbp.gov/border-
                                                         security//along-us-borders/border-
25                                                       patrol-sectors (last visited Jan. 16,
26                                                       2024), Ex. C.
27
28                                                 -2-
       PLAINTIFFS’ EVIDENTIARY OBJECTIONS TO DEFENDANT’S PROFFERED EVIDENCE IN SUPPORT OF
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 1                   Defendant’s Statement of            Grounds for Plaintiffs’ Objection
                        Undisputed Facts
 2
                                                       Not relevant (FRE 401-402)
 3                                                     This asserted fact is irrelevant to
 4                                                     Plaintiffs’ claims and Defendant’s
                                                       defenses, as it has no bearing on
 5                                                     whether Defendant and its agents
 6                                                     including those employed by CBP and
                                                       BP are liable for Plaintiffs’ causes of
 7                                                     action under the FTCA.
 8
          3.    Office of Field Operations (“OFO”)     Assumes facts not in evidence; lack of
 9                                                     foundation (FRE 901)
                is a component of CBP, which is an
10                                                     The CBP Organizational Structure
                agency within DHS.                     chart referenced in this item was not
11                                                     produced in discovery and cannot be
12                                                     found at the URL provided, which
                (See CBP Org. Chart)                   states, “We’re sorry, we can’t find the
13                                                     page you’re looking for. It might have
14                                                     been removed, changed its name, or is
                                                       otherwise unavailable.”
15
16                                                     Because it is impermissible to offer
                                                       new evidence with reply papers,
17                                                     Defendant may not offer new support
18                                                     for this assertion. See Morris v.
                                                       Guetta, No. 12-cv-684, 2013 WL
19                                                     440127, at *8 (C.D. Cal. Feb. 4, 2013)
20                                                     (“New evidence submitted as part of a
                                                       reply is improper.”).
21
22        4.    OFO is responsible for processing      Assumes facts not in evidence; lack of
                                                       foundation (FRE 901)
23              individuals at ports of entry.
                                                       The CBP Organizational Structure
24                                                     chart referenced in this item was not
                                                       produced in discovery and cannot be
25              (See CBP Org. Chart; see also H.N.
                                                       found at the URL provided, which
26              Depo at 18:11-24)                      states, “We’re sorry, we can’t find the
                                                       page you’re looking for. It might have
27
28                                               -3-
       PLAINTIFFS’ EVIDENTIARY OBJECTIONS TO DEFENDANT’S PROFFERED EVIDENCE IN SUPPORT OF
       MOTION FOR SUMMARY JUDGMENT AND TO THE DECLARATION OF JAMES DE LA CRUZ
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 1                   Defendant’s Statement of            Grounds for Plaintiffs’ Objection
                        Undisputed Facts
 2
                                                       been removed, changed its name, or is
 3                                                     otherwise unavailable.”
 4
                                                       Because it is impermissible to offer
 5                                                     new evidence with reply papers,
 6                                                     Defendant may not offer new support
                                                       for this assertion. See Morris v.
 7                                                     Guetta, No. 12-cv-684, 2013 WL
 8                                                     440127, at *8 (C.D. Cal. Feb. 4, 2013)
                                                       (“New evidence submitted as part of a
 9                                                     reply is improper.”).
10
          5.    BP and OFO are co-equal parts of       Assumes facts not in evidence; lack of
11                                                     foundation (FRE 901)
                CBP that report to the Deputy
12                                                     The CBP Organizational Structure
                Commissioner independent of each       referenced in this item was not
13                                                     produced in discovery and cannot be
                other.
14                                                     found at the URL provided, which
                                                       states, “We’re sorry, we can’t find the
15                                                     page you’re looking for. It might have
                (See CBP Org Chart; see also H.N.
16                                                     been removed, changed its name, or is
                Depo at 51:1-13, 94:18-21)             otherwise unavailable.”
17
18                                                     Because it is impermissible to offer
                                                       new evidence with reply papers,
19                                                     Defendant may not offer new support
20                                                     for this assertion. See Morris v.
                                                       Guetta, No. 12-cv-684, 2013 WL
21                                                     440127, at *8 (C.D. Cal. Feb. 4, 2013)
22                                                     (“New evidence submitted as part of a
                                                       reply is improper.”).
23
24                                                     The cited testimony does not support
                                                       the fact asserted.
25
26
27
28                                               -4-
       PLAINTIFFS’ EVIDENTIARY OBJECTIONS TO DEFENDANT’S PROFFERED EVIDENCE IN SUPPORT OF
       MOTION FOR SUMMARY JUDGMENT AND TO THE DECLARATION OF JAMES DE LA CRUZ
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 1                   Defendant’s Statement of            Grounds for Plaintiffs’ Objection
                        Undisputed Facts
 2
                                                        Not relevant (FRE 401-402)
 3                                                      This asserted fact is irrelevant to
 4                                                      Plaintiffs’ claims and Defendant’s
                                                        defenses, as it has no bearing on
 5                                                      whether Defendant and its agents,
 6                                                      including those employed by CBP
                                                        regardless of subdivision, are liable for
 7                                                      Plaintiffs’ causes of action under the
 8                                                      FTCA.

 9        6.    BP does not control policy for OFO.     Assumes facts not in evidence; lack of
10                                                      foundation (FRE 901)
                                                        The cited testimony does not support
11              (See Marquez Decl. ¶¶ 8-9, Exs. 7-8     the fact asserted.
12              (Hastings Depo) at 31:22, 33:12-34:3,
                                                        Not relevant (FRE 401-402)
13              (DHS 30(b)(6) Depo) at 193:15-          This asserted fact is irrelevant to
14                                                      Plaintiffs’ claims and Defendant’s
                194:12)
                                                        defenses, as it has no bearing on
15                                                      whether Defendant and its agents,
16                                                      including those under BP or OPO, are
                                                        liable for Plaintiffs’ causes of action
17                                                      under the FTCA.
18
          7.    OFO is responsible for the Laredo       More prejudicial than probative;
19                                                      misleading (FRE 403)
                Port of Entry.
20                                                      To the extent that this asserted fact
                                                        implies that other agencies and their
21                                                      employees within CBP do not also
                (See H.N. Depo at 52:8-9)
22                                                      have responsibilities at the Laredo Port
                                                        of Entry, it is false and misleading.
23
24                                                      Not relevant (FRE 402)
                                                        This asserted fact is irrelevant to
25                                                      Plaintiffs’ claims and Defendant’s
26                                                      motion, as it has no bearing on
                                                        whether Defendant and its agents
27
28                                               -5-
       PLAINTIFFS’ EVIDENTIARY OBJECTIONS TO DEFENDANT’S PROFFERED EVIDENCE IN SUPPORT OF
       MOTION FOR SUMMARY JUDGMENT AND TO THE DECLARATION OF JAMES DE LA CRUZ
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 1                   Defendant’s Statement of             Grounds for Plaintiffs’ Objection
                        Undisputed Facts
 2
                                                         including those employed by CBP and
 3                                                       BP are liable for Plaintiffs’ causes of
 4                                                       action under the FTCA because the
                                                         Family Separation Policy and the Zero
 5                                                       Tolerance Policy (“ZTP”)
 6                                                       encompassed within it were not
                                                         directed to only certain parts of CBP.
 7
 8                                                       Assumes facts not in evidence; lack of
                                                         foundation (FRE 901)
 9                                                       The cited testimony does not support
10                                                       the fact asserted.

11        8.    The Laredo Port of Entry processes       Not relevant (FRE 401-402)
12                                                       This asserted fact is irrelevant to
                thousands of individuals each day.
                                                         Plaintiffs’ claims and Defendant’s
13                                                       defenses, as it has no bearing on
14                                                       whether Defendant and its agents are
                (See H.E. Depo at 95:13-25, 96:5-6)
                                                         liable for Plaintiffs’ causes of action
15                                                       under the FTCA.
16
          9.    The Zero Tolerance Policy was never      Not relevant (FRE 401-402)
17                                                       This asserted fact is false, but in any
                applied at the Laredo Port of Entry.
18                                                       event is irrelevant to Plaintiffs’ claims
                                                         and Defendant’s defenses, as the
19                                                       policy at issue includes both the
                (See Marquez Decl., at ¶ 3, Ex.2
20                                                       broader Family Separation Policy and
                (CBP 30(b)(6) Depo) at 292:9-            the ZTP which is a part of it.
21
                293:12; see also H.N. Depo at 17:21-
22                                                       Moreover, Plaintiffs were separated
                25, 106:18-23)                           under these policies at Laredo, as were
23                                                       many other parents and children, on
24                                                       the same day that Plaintiffs arrived at
                                                         Laredo Port of Entry. See Plaintiffs’
25                                                       Statement of Uncontroverted Fact in
26                                                       Support of Plaintiffs’ Motion for
                                                         Summary Judgment (“SOF”) ¶¶ 120,
27
28                                                 -6-
       PLAINTIFFS’ EVIDENTIARY OBJECTIONS TO DEFENDANT’S PROFFERED EVIDENCE IN SUPPORT OF
       MOTION FOR SUMMARY JUDGMENT AND TO THE DECLARATION OF JAMES DE LA CRUZ
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 1                   Defendant’s Statement of             Grounds for Plaintiffs’ Objection
                        Undisputed Facts
 2
                                                         123. And contrary to the assertions of
 3                                                       its lawyers, Defendant has repeatedly
 4                                                       and recently admitted that Plaintiffs
                                                         were separated under the ZTP and has
 5                                                       awarded them benefits available only
 6                                                       to those who were separated pursuant
                                                         to the policy (including parole-in-
 7                                                       place for victims of the ZTP) under the
 8                                                       auspices of Defendant’s Department
                                                         of Homeland Security’s Family
 9                                                       Reunification Task Force. See SOF ¶¶
10                                                       244-45; Plaintiffs’ Supplemental
                                                         Statement of Fact (“SSOF”) ¶¶ 10-14.
11
12       10.    Plaintiff Esvin Arredondo Rodriguez      Unauthenticated document (FRE 901);
                                                         inadmissible hearsay (FRE 802)
13              (“Mr. Arredondo”) is a native and
                                                         The document (Form I-213 Record of
14              citizen of Guatemala.                    Deportable/Inadmissible Alien) is
                                                         unauthenticated (FRE 901) and
15                                                       constitutes inadmissible hearsay. (FRE
16              (See Declaration of Tracey Long          802.) The document also lacks
                                                         foundation as a business record for
17              “Long Decl.” at ¶ 5D, Ex. 4 (Mr.
                                                         purposes of FRE 803(6).
18              Arredondo’s Form I-213))
                                                         Moreover, because Defendant failed to
19                                                       produce a witness who created the
20                                                       document or could attest to when it
                                                         was created, and because the
21                                                       document contains various and
22                                                       internally inconsistent dates, there is a
                                                         strong indication that the document
23                                                       was created after-the-fact.
24
         11.    Plaintiff A.F.A.J., Mr. Arredondo’s      Unauthenticated document (FRE 901);
25                                                       inadmissible hearsay (FRE 802)
                daughter, is a native and citizen of
26                                                       The document (A.F.A.J.’s Form I-213)
                Guatemala.                               is unauthenticated (FRE 901) and
27
28                                                 -7-
       PLAINTIFFS’ EVIDENTIARY OBJECTIONS TO DEFENDANT’S PROFFERED EVIDENCE IN SUPPORT OF
       MOTION FOR SUMMARY JUDGMENT AND TO THE DECLARATION OF JAMES DE LA CRUZ
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 1                   Defendant’s Statement of            Grounds for Plaintiffs’ Objection
                        Undisputed Facts
 2
                                                       constitutes inadmissible hearsay. (FRE
 3                                                     802.) The document also lacks
                (See Declaration of Randy Fondren
 4                                                     foundation as a business record for
                “Fondren Decl.” at ¶ 5B, Ex. 2         purposes of FRE 803(6).
 5
                (A.F.A.J.’s Form I-213))
 6                                                     Moreover, because Defendant failed to
                                                       produce a witness who created the
 7                                                     document or could attest to when it
 8                                                     was created and because the document
                                                       contains various and internally
 9                                                     inconsistent dates of creation, there is
10                                                     a strong indication that the document
                                                       was created after-the-fact.
11
12       12.    Mr. Arredondo and A.F.A.J. sought   Unauthenticated document (FRE 901);
                                                    Inadmissible hearsay (FRE 802)
13              admission to the United States on
                                                    The document (Form I-213 Record of
14              May 16, 2018 at the Gateway to the  Deportable/Inadmissible Alien) is
                                                    unauthenticated (FRE 901) and
15              Americas Bridge, otherwise known as
                                                    constitutes inadmissible hearsay. (FRE
16              “Bridge 1” at the Laredo Port of    802.) The document also lacks
                                                    foundation as a business record for
17              Entry at approximately 5:37 p.m.
                                                    purposes of FRE 803(6).
18              A.F.A.J. was 12 years on this day.
                                                    The document itself states two
19                                                  different dates on which Plaintiffs
20              (See Long Decl., Ex. 4; Fondren     supposedly arrived at the Laredo Port
                Decl., Ex. 2; CBP 30(b)(6) Depo at  of Entry. Moreover, because
21                                                  Defendant failed to produce a witness
22              67:5-9)                             who created the document or could
                                                    attest to when it was created, and
23                                                  because the document contains various
24                                                  and internally inconsistent dates, there
                                                    is a strong indication that the
25                                                  document was created after-the-fact.
26
27
28                                               -8-
       PLAINTIFFS’ EVIDENTIARY OBJECTIONS TO DEFENDANT’S PROFFERED EVIDENCE IN SUPPORT OF
       MOTION FOR SUMMARY JUDGMENT AND TO THE DECLARATION OF JAMES DE LA CRUZ
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 1                  Defendant’s Statement of               Grounds for Plaintiffs’ Objection
                         Undisputed Facts
 2
       13.    This first official interaction Mr.         Assumes facts not in evidence;
 3                                                        mischaracterizes prior testimony;
              Arredondo and A.F.A.J. had with
 4                                                        misleading (FRE 403)
              CBP occurred at what is known as            The cited testimony does not establish
 5                                                        that the term “pedestrian primary” is a
              pedestrian primary.
 6                                                        term that is “known.” The term was
                                                          not used by either Plaintiff in their
 7                                                        depositions and is not generally known
              (See CBP 30(b)(6) Depo 73:2-12;
 8                                                        to the public.
              Marquez Decl. ¶ 2, Ex.1; Plaintiff’s
 9
              Depo at 39:16-40:10)
10
       14.    Primary is typically the first point at     Assumes facts not in evidence;
11                                                        mischaracterizes prior testimony;
              which travelers interface with CBP at
12                                                        misleading (FRE 403)
              a Port of Entry. This is where CBP          Defendant mischaracterizes prior
13                                                        testimony, and the asserted fact is
              officers ask travelers what their
14                                                        therefore misleading. The cited
              purpose is for seeking entry into the       testimony does not establish that the
15                                                        term “primary” is a term that is
              country and check their documents.
16                                                        “known.” The term was not used by
                                                          either Plaintiff in their depositions and
17                                                        is not generally known to the public.
              (See H.E. Depo at 24:10-22)
18
       15.    The pedestrian primary officer asked   Assumes facts not in evidence
19                                                   mischaracterizes prior testimony;
              Mr. Arredondo if he and his daughter
20                                                   misleading (FRE 403)
              A.F.A.J. had any valid documents.      Defendant mischaracterizes prior
21                                                   testimony, as the evidence does not
              Mr. Arredondo explained that he had
22                                                   support the asserted fact. Specifically,
              no visa and “was here to turn [himself the characterization of the officer as a
23                                                   “pedestrian primary officer” is not
              in].”
24                                                   supported by any evidence, including
                                                     Plaintiff’s cited testimony, and
25                                                   Defendant has not identified any agent
              (See Plaintiff’s Depo at 39:16-22)
26                                                   who had such a title.

27
28                                                  -9-
     PLAINTIFFS’ EVIDENTIARY OBJECTIONS TO DEFENDANT’S PROFFERED EVIDENCE IN SUPPORT OF
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 1                 Defendant’s Statement of                 Grounds for Plaintiffs’ Objection
                       Undisputed Facts
 2
       17.    Mr. Arredondo and A.F.A.J. lawfully          Unauthenticated document (FRE 901);
 3                                                         inadmissible hearsay (FRE 802)
              applied for admission into the United
 4                                                         The document (Form I-213 Record of
              States and expressed a fear of return        Deportable/Inadmissible Alien) is
 5                                                         unauthenticated (FRE 901) and
              to Guatemala.
 6                                                         constitutes inadmissible hearsay. (FRE
                                                           802.) The document also lacks
 7                                                         foundation as a business record for
              (See Long Decl., Ex. 4; Fondren
 8                                                         purposes of FRE 803(6).
              Decl., Ex. 2; Plaintiff’s Depo at
 9                                                         Moreover, because Defendant failed to
              39:16-22)
10                                                         produce a witness who created the
                                                           document or could attest to when it
11                                                         was created, and because the
12                                                         document contains various and
                                                           internally inconsistent dates, there is a
13                                                         strong indication that the document
14                                                         was created after-the-fact.

15     18.    All individuals who appear                   Assumes facts not in evidence;
16                                                         mischaracterizes prior testimony;
              inadmissible and express a fear of
                                                           misleading (FRE 403)
17            return are referred to secondary for         Defendant mischaracterizes prior
18                                                         testimony, and the cited testimony
              further processing.
                                                           does not support the fact asserted. The
19                                                         30(b)(6) testimony relied on by
20                                                         Defendant does not support the
              (See H.E. Depo at 34:15-20; CBP
                                                           asserted fact. There is no mention of
21            30(b)(6) Depo at 95: 2-12)                   “all individuals” being referred to
22                                                         “secondary” or being “referring”
                                                           anywhere “for further processing.” R.
23                                                         Harris Tr. 95:2-12, Ex. W.
24
                                                           Defendant’s witness’ testimony
25                                                         describes what a “duty would be,” it
26                                                         does not describe what happens to “all
                                                           individuals who appear inadmissible
27
28                                                - 10 -
     PLAINTIFFS’ EVIDENTIARY OBJECTIONS TO DEFENDANT’S PROFFERED EVIDENCE IN SUPPORT OF
     MOTION FOR SUMMARY JUDGMENT AND TO THE DECLARATION OF JAMES DE LA CRUZ
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 1                 Defendant’s Statement of                 Grounds for Plaintiffs’ Objection
                      Undisputed Facts
 2
                                                           and express a fear of return.” H.
 3                                                         Elguezabal Tr. 34:15-20, Ex. M.
 4
       19.    Mr. Arredondo and A.F.A.J. were              Assumes facts not in evidence;
 5                                                         mischaracterizes prior testimony;
              referred to what is known as
 6                                                         misleading (FRE 403)
              secondary processing.                        Defendant mischaracterizes prior
 7                                                         testimony, and the asserted fact is
 8                                                         therefore misleading. The cited
              (See Plaintiff’s Depo at 40:8-17,            testimony does not establish that the
 9                                                         term “secondary processing” is
              41:21-42:1, 42:6-10, 42:19-43:4,
10                                                         “known.” The term was not used by
              64:17-65:1)                                  either Plaintiff in their depositions and
11                                                         is not generally known to the public.
12
       20.    In secondary, CBP officers gather            Assumes facts not in evidence;
13                                                         mischaracterizes prior testimony;
              initial information from the
14                                                         misleading (FRE 403)
              individuals. This includes                   Defendant mischaracterizes prior
15                                                         testimony, and the asserted fact is
              fingerprinting and photographs.
16                                                         therefore misleading. The cited
                                                           testimony does not establish that the
17                                                         term “secondary” processing is
              (See CBP 30(b)(6) Depo 73:9-25;
18                                                         “known.” The term was not used by
              H.E Depo at 120:16-22, 160:21-               either Plaintiff in their depositions and
19                                                         is not generally known to the public.
              161:8)
20
       23.    Through his fingerprints, it was      Unauthenticated document (FRE 901);
21                                                  inadmissible hearsay (FRE 802)
              discovered that Mr. Arredondo was
22                                                  The documents (Record of Sworn
              previously encountered by U.S.        Statement and Form I-213 Record of
23                                                  Deportable/Inadmissible Alien) are
              Border Patrol agents in Laredo, Texas
24                                                  unauthenticated (FRE 901) and
              on or about December 10, 2006, and constitute inadmissible hearsay. (FRE
25                                                  802.) The documents also lack
              falsely identified himself as a
26                                                  foundation as a business record for
                                                    purposes of FRE 803(6).
27
28                                                - 11 -
     PLAINTIFFS’ EVIDENTIARY OBJECTIONS TO DEFENDANT’S PROFFERED EVIDENCE IN SUPPORT OF
     MOTION FOR SUMMARY JUDGMENT AND TO THE DECLARATION OF JAMES DE LA CRUZ
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 1                 Defendant’s Statement of          Grounds for Plaintiffs’ Objection
                       Undisputed Facts
 2
              Mexican citizen by the name of Esbin Moreover, because Defendant failed to
 3                                                 produce a witness who created the
              Fernando Ramirez-Lopez.
 4                                                 document or could attest to when it
                                                   was created, and because the
 5                                                 document contains various and
              (See Long Decl. at ¶¶ 5C-D, Exs. 3-4
 6                                                 internally inconsistent dates, there is a
              (Mr. Arredondo’s Record of Sworn     strong indication that the document
 7                                                 was created after-the-fact.
              Statement and Form I-213); CBP
 8
              30(b)(6) Depo at 187:11-188:2;
 9
              Plaintiff’s Depo at 16:15-17:8, 18:22-
10
              24, 19:7-20)
11
       24.    In 2018, prior immigration violations, Offers unsubstantiated legal
12                                                   conclusions; improper opinion of lay
              including a previous unlawful entry,
13                                                   witness (FRE 701)
              were considered when CBP exercised This statement consists of a self-
14                                                   serving argument, is unsubstantiated,
              its discretionary authority to process
15                                                   and is an improper legal conclusion of
              an inadmissible noncitizen, which      a lay witness. The improper and
16                                                   unsubstantiated legal conclusion is
              may result in separation of a family
17                                                   that CBP’s authority to consider prior
              unit to effectuate detention.          immigration violations when
18                                                   processing a noncitizen in 2018 was
19                                                   discretionary.
              (See H.N. Depo at 97:14-24, 141:18-
20
              22, 206:6-11; CBP 30(b)(6) Depo at
21
              232:2-14)
22
       25.    Based on this prior immigration      Unauthenticated document (FRE 901);
23                                                 inadmissible hearsay (FRE 802)
              violation, which included the
24                                                 This document (Form I-213 Record of
              aggravating factors of Mr. Arredondo Deportable/Inadmissible Alien) is
25                                                 unauthenticated (FRE 901) and is
              providing a false identity to U.S.
26                                                 inadmissible hearsay. (FRE 802.) It
              Border Patrol, and providing a false also lacks foundation as a business
27                                                 record for purposes of FRE 803(6).
28                                              - 12 -
     PLAINTIFFS’ EVIDENTIARY OBJECTIONS TO DEFENDANT’S PROFFERED EVIDENCE IN SUPPORT OF
     MOTION FOR SUMMARY JUDGMENT AND TO THE DECLARATION OF JAMES DE LA CRUZ
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 1                 Defendant’s Statement of                  Grounds for Plaintiffs’ Objection
                        Undisputed Facts
 2
              nationality, OFO concluded that Mr.           Moreover, because Defendant failed to
 3                                                          produce a witness who created the
              Arredondo would be processed as an
 4                                                          document or could attest to when it
              expedited removal (“ER”) case. Due            was created, and because the
 5                                                          document contains various and
              to Mr. Arredondo’s claim that he
 6                                                          internally inconsistent dates, there is a
              feared returning to his home country,         strong indication that the document
 7                                                          was created after-the-fact.
              the case was processed as an
 8
              ER/credible fear (“ERCF”) case,      Lack of foundation (FRE 901)
 9                                                 There is no foundation for the asserted
              where his removal was put on hold
10                                                 fact that Mr. Arredondo’s immigration
              pending the outcome of his credible  record justified Defendant’s conduct
11
              fear determination during which time or that it provided “aggravating
12                                                 factors.” The testimony relied on by
              he would be detained.                Defendant does not speak to any
13                                                 “aggravating factors.” R. Harris Tr. at
14                                                 186:9-16, Ex. W; H. Elguezabal Tr.
              (See Long Decl., Ex. 4; CBP 30(b)(6) 173:18-174:9, Ex. M. Defendant has
15                                                 not produced any evidence concerning
              Depo at 186:9-16; H.E. Depo at
16                                                 “aggravating factors.”
              173:18-174:9)
17
       26.    Due to the fact that United States            Offers unsubstantiated legal
18                                                          conclusions; improper opinion of lay
              Immigration and Customs
19                                                          witness (FRE 701)
              Enforcement (“ICE) family                     This statement is unsubstantiated and
20                                                          constitutes a legal argument created by
              residential centers did not have space
21                                                          Defendant’s counsel who asked
              for a family unit with a male head of         witnesses to speculate on what
22                                                          happened. It lacks any support in the
              household at the time CBP processed
23                                                          record.
              Plaintiffs, to effect Mr. Arredondo’s
24                                                          Lack of personal knowledge;
              detention, he and A.F.A.J. had to be
25                                                          speculation (FRE 602)
              separated because they could not be           Defendant’s Rule 30(b)(6) witness
26                                                          lacks firsthand knowledge concerning
              detained together.
27                                                          the asserted fact, as the witness did not

28                                                 - 13 -
     PLAINTIFFS’ EVIDENTIARY OBJECTIONS TO DEFENDANT’S PROFFERED EVIDENCE IN SUPPORT OF
     MOTION FOR SUMMARY JUDGMENT AND TO THE DECLARATION OF JAMES DE LA CRUZ
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 1                 Defendant’s Statement of                  Grounds for Plaintiffs’ Objection
                      Undisputed Facts
 2
                                                            interact with Plaintiffs or take any
 3                                                          action in their case. Therefore, the
              (See CBP 30(b)(6) Depo at 186:9-16;
 4                                                          statement is speculative.
              271:3-9)
 5                                                          Assumes facts not in evidence; lack of
 6                                                          foundation (FRE 901)
                                                            This statement assumes facts not in
 7                                                          evidence. Other than the entirely
 8                                                          speculative testimony of a purported
                                                            Rule 30(b)(6) witness who guessed
 9                                                          what might have happened, but who
10                                                          did not interact with Plaintiffs or take
                                                            any action in their case, there is no
11                                                          evidence that Defendant ever sought to
12                                                          place Plaintiffs in a family residential
                                                            center, but could not find space.
13
14     27.    The decision to separate was made             Offers legal conclusions; improper
                                                            opinion of lay witness (FRE 701)
15            during the initial intake process,
                                                            This statement is unsubstantiated and
16            which took place on May 16, 2018.             constitutes a legal argument created by
                                                            Defendant’s counsel who asked
17                                                          witnesses to speculate on what
18            (See CBP 30(b)(6) Depo at 169:6-              happened. It lacks any support in the
                                                            record.
19            170:9, 187:11-188:9; H.N. Depo at

20            81:16-22)                                     Lack of personal knowledge;
                                                            speculation. (FRE 602)
21                                                          Defendant’s Rule 30(b)(6) witness
22                                                          lacks firsthand knowledge concerning
                                                            the asserted fact, as the deponent did
23                                                          not interact with Plaintiffs or take any
24                                                          action in their case. Therefore, the
                                                            statement is speculative.
25
26
27
28                                                 - 14 -
     PLAINTIFFS’ EVIDENTIARY OBJECTIONS TO DEFENDANT’S PROFFERED EVIDENCE IN SUPPORT OF
     MOTION FOR SUMMARY JUDGMENT AND TO THE DECLARATION OF JAMES DE LA CRUZ
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 1                 Defendant’s Statement of                Grounds for Plaintiffs’ Objection
                      Undisputed Facts
 2
                                                          Assumes facts not in evidence; lack of
 3                                                        foundation (FRE 901)
 4                                                        This statement assumes facts not in
                                                          evidence. No percipient witness in this
 5                                                        case has admitted to having made the
 6                                                        decision to separate Plaintiffs or
                                                          provided his or her reasoning as to that
 7                                                        decision. Other than the entirely
 8                                                        speculative testimony of a purported
                                                          Rule 30(b)(6) witness who guessed
 9                                                        what might have happened, but who
10                                                        did not interact with Plaintiffs or take
                                                          any action in their case, there is no
11                                                        evidence that the decision to separate
12                                                        Plaintiffs was made during the initial
                                                          intake process, or that it took place on
13                                                        May 16, 2018.
14
       28.    The policy at the Laredo Port of            Unauthenticated document (FRE 901);
15                                                        inadmissible hearsay (FRE 802)
              Entry required a GS-14 Watch
16                                                        This document (Email from R.H. at
              Commander or equivalent to concur           CBP) is unauthenticated (FRE 901)
17                                                        and is inadmissible hearsay. (FRE
              with the separation.
18                                                        802.) It also lacks foundation as a
                                                          business record for purposes of FRE
19                                                        803(6).
              (See Marquez Decl. at ¶ 7, Ex. 6
20
              (R.H. e-mail dated December 13,             The document also predates the
21                                                        separation at issue in this case or the
              2017; see also CBP 30(b)(6) Depo at
22                                                        ZTP. See Marquez Decl. at ¶ 7 (Dkt.
              168:2-18)                                   93-2). Defendant’s own witnesses
23                                                        testified that they received a
24                                                        subsequent email following the
                                                          announcement of the ZTP instructing
25                                                        them differently—that they were to
26                                                        separate any families arriving at the
                                                          port of entry if the adult in the family
27
28                                               - 15 -
     PLAINTIFFS’ EVIDENTIARY OBJECTIONS TO DEFENDANT’S PROFFERED EVIDENCE IN SUPPORT OF
     MOTION FOR SUMMARY JUDGMENT AND TO THE DECLARATION OF JAMES DE LA CRUZ
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 1                 Defendant’s Statement of                Grounds for Plaintiffs’ Objection
                      Undisputed Facts
 2
                                                          had any prior immigration violation or
 3                                                        criminal history. See SOF ¶ 54 and
 4                                                        Exhibit 28 attached thereto; H. Nieves
                                                          Tr. 93:18-97:24 (testifying about
 5                                                        instructions received for the Laredo
 6                                                        port of entry following the
                                                          announcement of the ZTP), Ex. L; H.
 7                                                        Elguezabal Tr. 127:1-6 (same), Ex. M.
 8
       29.    The CBP Watch Commander, on duty Lack of personal knowledge;
 9                                                  speculation (FRE 602)
              at the relevant time, Cynthia
10                                                  The statement declares that “Cynthia
              Rodriguez, would have provided final Rodriguez[] would have provided final
11                                                  approval” for separating Plaintiffs, but
              approval for the decision to separate
12                                                  this statement is inherently speculative
              Mr. Arredondo and A.F.A.J.            and cannot constitute a fact.
13                                                  Defendant’s Rule 30(b)(6) witness
14                                                  who testified had no percipient
              (See CBP 30(b)(6) Depo at 168:2-18, knowledge to this fact.
15
              186:17-187:1)
16
       30.    After the initial intake process, Mr.Lack of personal knowledge;
17                                                 speculation (FRE 602)
              Arredondo and A.F.A.J. were referred
18                                                 Defendant’s Rule 30(b)(6) witness
              to secondary for further processing. lacks firsthand knowledge concerning
19                                                 the asserted fact, as the deponent did
20                                                 not interact with Plaintiffs or take any
              (See CBP 30(b)(6) Depo at 74:1-3,    action in their case. Therefore, the
21                                                 statement is speculative.
              159:8-10.)
22
                                                          Assumes facts not in evidence; lack of
23                                                        foundation (FRE 901)
24                                                        As stated above, the term “secondary”
                                                          is not “known” and was not used with
25                                                        Plaintiffs in this case. Further, the
26                                                        cited testimony does not support the
                                                          asserted fact. While the deponent
27
28                                               - 16 -
     PLAINTIFFS’ EVIDENTIARY OBJECTIONS TO DEFENDANT’S PROFFERED EVIDENCE IN SUPPORT OF
     MOTION FOR SUMMARY JUDGMENT AND TO THE DECLARATION OF JAMES DE LA CRUZ
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 1                 Defendant’s Statement of              Grounds for Plaintiffs’ Objection
                      Undisputed Facts
 2
                                                        speaks generally about secondary
 3                                                      processing, he does not and cannot
 4                                                      testify to Plaintiffs’ experience at the
                                                        Laredo port of entry.
 5
 6     31.    Secondary at the Laredo Port of Entry Lack of personal knowledge;
                                                    speculation (FRE 602)
 7            in 2018 contained ten holding cells.
                                                    Defendant’s Rule 30(b)(6) witness
 8                                                  lacks firsthand knowledge concerning
                                                    the asserted fact, as the deponent did
 9            (See CBP 30(b)(6) Depo at 77:11-14)
                                                    not interact with Plaintiffs or take any
10                                                  action in their case.

11                                                      Assumes facts not in evidence; lack of
12                                                      foundation (FRE 901)
                                                        The cited testimony does not support
13                                                      the asserted fact. While the deponent
14                                                      testified that “there should have been
                                                        ten” holding cells, the witness does not
15                                                      and cannot testify that there were in
16                                                      fact ten holding cells. R. Harris Tr.
                                                        77:11-14, Ex. W.
17
18     32.    Mr. Arredondo was never prosecuted        Assumes facts not in evidence; lack of
                                                        foundation (FRE 901)
19            nor referred for prosecution at any
                                                        The cited testimony does not support
20            relevant time in this case.               the asserted fact. Defendant’s Rule
                                                        30(b)(6) witness did not assert that Mr.
21                                                      Arredondo was “never prosecuted or
22            (See CBP 30(b)(6) Depo at 292:6-          referred for prosecution.” R. Harris Tr.
                                                        292:6-293:12 (discussing prosecutions
23            293:12)
                                                        for illegal entry generally and
24                                                      testifying based on review of the file,
                                                        not personal knowledge, that a charge
25                                                      of illegal entry was not warranted in
26                                                      this case), Ex. W.
27
28                                             - 17 -
     PLAINTIFFS’ EVIDENTIARY OBJECTIONS TO DEFENDANT’S PROFFERED EVIDENCE IN SUPPORT OF
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 1                 Defendant’s Statement of                Grounds for Plaintiffs’ Objection
                       Undisputed Facts
 2
       33.    The practice at the Laredo Port of       Not relevant (FRE 401-402)
 3                                                     The “practice at the Laredo Port of
              Entry was to keep a parent and child
 4                                                     Entry” is not at issue in this litigation.
              together and not effectuate a            Rather, what is at issue is what
 5                                                     happened to Plaintiffs. Moreover, Mr.
              separation until the child was ready
 6                                                     Arredondo testified that the purported
              for transfer to the custody of Office of practice is not what actually occurred
 7                                                     in his case. E.F.A.R. Tr. 72:7-16
              Refugee Resettlement (“ORR”) at
 8                                                     (testifying that he was separated from
              BCFS Health and Human Services           A.F.A.J. approximately six hours
 9                                                     before she was taken from the Laredo
              formerly known as Baptist Child and
10                                                     port of entry), Ex. O. His testimony is
              Family Services (“BCFS”), in San         uncontroverted by Defendant.
11
              Antonio, Texas.
12
13
              (See CBP 30(b)(6) Depo at 257:13-
14
              258:1, H.N. Depo at 131:20-25,
15
              162:9-15)
16
       34.    BCFS is an independent contractor           Unauthenticated document (FRE 901);
17                                                        Inadmissible hearsay (FRE 802)
              that ORR maintains a cooperative
18                                                        This document (Cooperative
              agreement with to provide housing           Agreement) is unauthenticated (FRE
19                                                        901) and is inadmissible hearsay.
              and services to unaccompanied
20                                                        (FRE 802.) It also lacks foundation as
              children or “UACs” in ORR custody.          a business record for purposes of FRE
21                                                        803(6).
22
              (See Declaration of James De La             Furthermore, it is not the only
23                                                        agreement between ORR and BCFS
              Cruz, at 6, Ex. A (cooperative
24                                                        and does not purport to be the
              agreement).                                 comprehensive description of those
25                                                        parties’ relationship.
26
27
28                                               - 18 -
     PLAINTIFFS’ EVIDENTIARY OBJECTIONS TO DEFENDANT’S PROFFERED EVIDENCE IN SUPPORT OF
     MOTION FOR SUMMARY JUDGMENT AND TO THE DECLARATION OF JAMES DE LA CRUZ
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 1                 Defendant’s Statement of              Grounds for Plaintiffs’ Objection
                      Undisputed Facts
 2
                                                        Not relevant (FRE 401-402)
 3                                                      Whether or not BCFS has a
 4                                                      “cooperative agreement” with ORR is
                                                        irrelevant. BCFS, and its employees,
 5                                                      acted and act as agents of Defendant,
 6                                                      charged by Defendant with the care of
                                                        children in Defendant’s custody. See
 7                                                      HHS 30(b)(6) J Gonzalez Tr. 19:4-19
 8                                                      (testifying that in 2018, in his capacity
                                                        as an ORR employee, he oversaw the
 9                                                      staff responsible for the care of
10                                                      children at BCFS, referring to BCFS
                                                        as “our shelter”), Ex. S.
11
12                                                      Offers legal conclusions; improper
                                                        opinion of lay witness (FRE 701)
13                                                      That BCFS is an independent
14                                                      contractor is also an improper legal
                                                        conclusion, and is therefore
15                                                      inadmissible.
16
       35.    Mr. Arredondo and A.F.A.J. were        More prejudicial that probative (FRE
17                                                   403)
              separated ten minutes before A.F.A.J.
18                                                   A.F.A.J.’s testimony concerning the
              departed from the Laredo Port of       timing of the separation is unreliable
19                                                   as she was a 12-year-old traumatized
              Entry to be transferred to the custody
20                                                   and terrified child at the time the
              of ORR at BCFS.                        separation occurred. Mr. Arredondo,
21                                                   who was an adult at the time, testified
22                                                   that he was separated approximately
              (See A.F.A.J.’s Depo at 37:4-39:24)    six hours before he witnessed A.F.A.J.
23                                                   being taken from the Laredo port of
24                                                   entry. E.F.A.R. Tr. 72:7-16, Ex. O.
25     36.    Since it had been determined that Mr. More prejudicial than probative;
26                                                  misleading and incomplete. (FRE 403)
              Arredondo and A.F.A.J. were going
27
28                                             - 19 -
     PLAINTIFFS’ EVIDENTIARY OBJECTIONS TO DEFENDANT’S PROFFERED EVIDENCE IN SUPPORT OF
     MOTION FOR SUMMARY JUDGMENT AND TO THE DECLARATION OF JAMES DE LA CRUZ
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 1                  Defendant’s Statement of               Grounds for Plaintiffs’ Objection
                        Undisputed Facts
 2
              to be separated, and A.F.A.J. did not       The asserted fact is unsupported by the
 3                                                        cited testimony and is misleading as it
              have a known parent or legal
 4                                                        fails to consider that A.F.A.J.’s mother
              guardian in the United States who           and two sisters were being held
 5                                                        together in Defendant’s custody;
              could care for her, A.F.A.J. was
 6                                                        Defendant was therefore aware that
              processed as an unaccompanied child         A.F.A.J. had a parent in the United
 7                                                        States who could care for her when it
              or “UAC.”
 8                                                        wrongfully designated A.F.A.J. an
                                                          “UAC.” See Excerpt of Cleivi Marilu
 9                                                        Jerez Lara’s Credible Fear Interview
              (See CBP 30(b)(6) Depo at 270:25-
10                                                        Transcript, dated May 24, 2018, Ex. E.
              271:9)
11
       37.    The practice in Laredo was to process Not relevant (FRE 401-402)
12                                                  The “practice in Laredo” is not at issue
              the minor child as a UAC before
13                                                  in this litigation, and is therefore
              physical separation so the parent is  irrelevant. What is relevant is what
14                                                  Defendant did to Plaintiffs at Laredo,
              with the child during processing and
15                                                  but Defendant failed to produce any
              in order to meet the statutory and    witness to these events.
16
              policy time requirements for referring
17
              and transferring custody of all UACs
18
              to ORR custody.
19
20
              (See H.N. Depo at 36:14-18, 81:16-
21
              22; CBP 30(b)(6) Depo 133:21-
22
              134:5, 174:21-175:5, 232:2-14,
23
              257:23-258:11)
24
       38.    Mr. Arredondo remained in CBP               Unauthenticated document (FRE 901);
25                                                        Inadmissible hearsay (FRE 802)
              custody until May 18, 2018.
26                                                        This document (Custody Log) is
                                                          unauthenticated (FRE 901) and is
27                                                        inadmissible hearsay. (FRE 802.) It
28                                               - 20 -
     PLAINTIFFS’ EVIDENTIARY OBJECTIONS TO DEFENDANT’S PROFFERED EVIDENCE IN SUPPORT OF
     MOTION FOR SUMMARY JUDGMENT AND TO THE DECLARATION OF JAMES DE LA CRUZ
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 1                 Defendant’s Statement of               Grounds for Plaintiffs’ Objection
                       Undisputed Facts
 2
              (See Long Decl. at ¶ 5C, Ex.2              also lacks foundation as a business
 3                                                       record for purposes of FRE 803(6).
              (Custody Log))
 4
                                                         The dates on the documents Defendant
 5                                                       produced are also internally
 6                                                       inconsistent and unauthenticated, as
                                                         we do not know who created them or
 7                                                       when they were created. The
 8                                                       documents produced by Defendant
                                                         refer to Plaintiffs arriving on both May
 9                                                       16, 2018 and May 18, 2023. Mr.
10                                                       Arredondo testified that he was held at
                                                         the Laredo port of entry for a day and
11                                                       a half. E.F.A.R. Tr. 75:18-20, Ex. O.
12                                                       Defendant failed to produce any
                                                         witness who had any knowledge of the
13                                                       date on which Plaintiffs arrived at the
14                                                       Laredo Port of Entry, were taken into
                                                         Defendant’s custody, and were moved
15                                                       to other facilities.
16
       40.    In 2018, the Laredo Port of Entry had      Not relevant (FRE 401-402)
17                                                       The asserted fact is inadmissible
              a contract with a local franchise to
18                                                       because it is irrelevant to Plaintiffs’
              provide food.                              claims or Defendant’s defenses.
19
20                                                       Best evidence rule (FRE 1001-1008)
              (See H.N. Depo at 120:24-121:4)            The best evidence rule would require
21                                                       that this document itself be produced,
22                                                       but the contract was not produced in
                                                         the litigation.
23
24                                                       Assumes facts not in evidence; lack of
                                                         foundation (FRE 901)
25                                                       The cited testimony does not establish
26                                                       the fact, it merely reflects what one
27
28                                              - 21 -
     PLAINTIFFS’ EVIDENTIARY OBJECTIONS TO DEFENDANT’S PROFFERED EVIDENCE IN SUPPORT OF
     MOTION FOR SUMMARY JUDGMENT AND TO THE DECLARATION OF JAMES DE LA CRUZ
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 1                  Defendant’s Statement of              Grounds for Plaintiffs’ Objection
                       Undisputed Facts
 2
                                                         agent “understood” to be the case. See
 3                                                       H. Nieves Tr. 120:21-121:4, Ex. L.
 4
       41.    Individuals housed at the Laredo Port      More prejudicial than probative;
 5                                                       misleading (FRE 403) This fact is
              of Entry were provided three meals a
 6                                                       misleading and inaccurate. Mr.
              day, as well as water, and snacks if       Arredondo testified that he was not
 7                                                       given snacks at Laredo, and that even
              requested.
 8                                                       if he did ask for snacks, the officers
                                                         would not provide them. E.F.A.R. Tr.
 9                                                       76:10-77:9, Ex. O.
              (See H.N. Depo at 121:5-7, 121:11-
10
              24, 122:12-123:2; H.E. Depo at             Lack of personal knowledge;
11                                                       speculation (FRE 602)
              189:16-24, 191:22-192:22)
12                                                       Defendant failed to produce any
                                                         witness with actual knowledge of
13                                                       Plaintiffs’ treatment at the Laredo port
14                                                       of entry or any witness who spoke
                                                         with someone with knowledge of
15                                                       Plaintiffs’ treatment at Laredo. R.
16                                                       Harris Tr. 246:1-4 (testifying that the
                                                         individuals he spoke with to prepare
17                                                       for the deposition had no recollection
18                                                       of Plaintiffs), Ex. W; H. Nieves
                                                         145:13-24 (testifying that he has no
19                                                       recollection of Plaintiffs), Ex. L; H.
20                                                       Elguezabal Tr. 133:6-9 (same), Ex. M.
                                                         None of Defendant’s witnesses have
21                                                       firsthand knowledge as to whether the
22                                                       individuals housed at Laredo were
                                                         actually provided three meals, water,
23                                                       and snacks if requested.
24
       42.    Individuals held at the Laredo Port of     Unauthenticated document (FRE 901);
25                                                       inadmissible hearsay (FRE 802)
              Entry were also provided with cots or
26                                                       This document (Custody Log) is
              mats in their cells.                       unauthenticated (FRE 901) and is
27
28                                              - 22 -
     PLAINTIFFS’ EVIDENTIARY OBJECTIONS TO DEFENDANT’S PROFFERED EVIDENCE IN SUPPORT OF
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 1                 Defendant’s Statement of              Grounds for Plaintiffs’ Objection
                      Undisputed Facts
 2
                                                        inadmissible hearsay. (FRE 802.) It
 3                                                      also lacks foundation as a business
              (See Long Decl. at ¶ 5C, Ex.2; H.E.
 4                                                      record for purposes of FRE 803(6).
              Depo at 197:23-198:1. CBP 30(b)(6)
 5                                                      Lack of personal knowledge;
              Depo 82:5-11)
 6                                                      speculation (FRE 602)
                                                        Defendant failed to produce any
 7                                                      witness with actual knowledge of
 8                                                      Plaintiffs’ treatment at the Laredo port
                                                        of entry or any witness who spoke
 9                                                      with someone with knowledge of
10                                                      Plaintiffs’ treatment at Laredo. R.
                                                        Harris Tr. 246:1-4 (testifying that the
11                                                      individuals he spoke with to prepare
12                                                      for the deposition had no recollection
                                                        of Plaintiffs), Ex. W; H. Nieves
13                                                      145:13-24 (testifying that he has no
14                                                      recollection of Plaintiffs), Ex. L; H.
                                                        Elguezabal Tr. 133:6-9 (same), Ex. M.
15                                                      None of the deponents have firsthand
16                                                      knowledge as to whether the
                                                        individuals housed at Laredo were
17                                                      actually provided with cots or mats in
18                                                      their cells.

19     43.    Holding cells were checked every          Lack of personal knowledge;
20                                                      speculation (FRE 602)
              fifteen minutes.
                                                        The cited testimony does not support
21                                                      that the asserted fact was true during
22                                                      Plaintiff’s stay. Defendant failed to
              (See H.E. Depo at 192:19-22; CBP
                                                        produce any witness with actual
23            30(b)(6) Depo at 79:10-14)                knowledge of Plaintiffs’ treatment at
24                                                      the Laredo port of entry or any witness
                                                        who spoke with someone with
25                                                      knowledge of Plaintiffs’ treatment at
26                                                      Laredo. R. Harris Tr. 246:1-4
                                                        (testifying that the individuals he
27
28                                             - 23 -
     PLAINTIFFS’ EVIDENTIARY OBJECTIONS TO DEFENDANT’S PROFFERED EVIDENCE IN SUPPORT OF
     MOTION FOR SUMMARY JUDGMENT AND TO THE DECLARATION OF JAMES DE LA CRUZ
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 1                 Defendant’s Statement of              Grounds for Plaintiffs’ Objection
                      Undisputed Facts
 2
                                                        spoke with to prepare for the
 3                                                      deposition had no recollection of
 4                                                      Plaintiffs), Ex. W; H. Nieves 145:13-
                                                        24 (testifying that he has no
 5                                                      recollection of Plaintiffs), Ex. L; H.
 6                                                      Elguezabal Tr. 133:6-9 (same), Ex. M.
                                                        None of Defendant’s witnesses have
 7                                                      firsthand knowledge as to whether the
 8                                                      holding cells were actually checked
                                                        every fifteen minutes.
 9
10     44.    On May 18, 2018, Mr. Arredondo            Unauthenticated document (FRE 901);
                                                        Inadmissible hearsay (FRE 802)
11            was transferred into ICE custody.
                                                        The documents (Custody Log and
12                                                      EARM Person History for E.F.A.R.)
                                                        are unauthenticated (FRE 901) and
13            (See Long Decl. at ¶ 5C, Ex.2;
                                                        constitute inadmissible hearsay. (FRE
14            Declaration of Jason Lynch “Lynch         802.) They also lack foundation as
                                                        business records for purposes of FRE
15            Decl.” at ¶ 5, Ex.1)
                                                        803(6).
16
                                                        Moreover, the documents produced by
17                                                      Defendant refer to Plaintiffs as
18                                                      arriving on May 16, 2018 and May 18,
                                                        2018. Because Defendant failed to
19                                                      produce a witness who created the
20                                                      document or could attest to when it
                                                        was created and because the document
21                                                      contains various and internally
22                                                      inconsistent dates of creation, there is
                                                        a strong indication that the document
23                                                      was created after-the-fact.
24
       45.    On May 17, 2018, A.F.A.J. was             Unauthenticated document. (FRE
25                                                      901); inadmissible hearsay (FRE 802)
              admitted to BCFS in San Antonio,
26                                                      This document (Initial Intake
                                                        Assessment) is unauthenticated (FRE
27
28                                             - 24 -
     PLAINTIFFS’ EVIDENTIARY OBJECTIONS TO DEFENDANT’S PROFFERED EVIDENCE IN SUPPORT OF
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 1                 Defendant’s Statement of                Grounds for Plaintiffs’ Objection
                       Undisputed Facts
 2
              Texas, and transferred to the custody       901) and is inadmissible hearsay.
 3                                                        (FRE 802.) It also lacks foundation as
              of ORR.
 4                                                        business records for purposes of FRE
                                                          803(6).
 5
              (See A.F.A.J.’s Depo 42:19-25; see
 6                                                        Moreover, because Defendant failed to
              also Declaration of Kevin Duvall            produce a witness who created the
 7                                                        document or could attest to when it
              “Duvall Decl.” at ¶ 3, Ex. 2 (Initial
 8                                                        was created and because the document
              Intake Assessment))                         contains various and internally
 9                                                        inconsistent dates of creation, there is
10                                                        a strong indication that the document
                                                          was created after-the-fact.
11
12     46.    BCFS is an emergency shelter and            Not relevant (FRE 401-402); more
                                                          prejudicial than probative; misleading
13            one of ORR’s least restrictive
                                                          (FRE 403)
14            environments.                               This asserted fact is incomplete and
                                                          highly misleading, since BCFS is a
15                                                        massive organization that consists of
16            (See Marquez Decl. at ¶ 5, Ex. 4            multiple shelters and multiple foster
                                                          homes. Moreover, it is not relevant to
17            (HHS 30(b)(6) Depo) at 29:2-10)
                                                          Plaintiffs’ claims or Defendant’s
18                                                        defenses.

19     47.    In 2018, upon a UAC’s arrival, BCFS Lack of foundation; speculation (FRE
20                                                602)
              would begin the preliminary intake
                                                  This statement is not a factual
21            assessment.                         assertion but instead speculation of
22                                                what “would” potentially happen.
23            (See HHS 30(b)(6) Depo at 79:1-6,           Assumes facts not in evidence; lack of
24                                                        foundation (FRE 901)
              17-23)
                                                          The cited testimony does not establish
25                                                        which kind of BCFS facility was being
26                                                        discussed, nor does it support the
                                                          asserted fact that BCFS began
27
28                                               - 25 -
     PLAINTIFFS’ EVIDENTIARY OBJECTIONS TO DEFENDANT’S PROFFERED EVIDENCE IN SUPPORT OF
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 1                 Defendant’s Statement of              Grounds for Plaintiffs’ Objection
                      Undisputed Facts
 2
                                                        preliminary intake assessments at the
 3                                                      time a child arrived.
 4
       48.    This preliminary intake assessment    Mischaracterizes prior testimony,
 5                                                  confusion of issues (FRE 403)
              determines whether that emergency
 6                                                  Defendant’s Rule 30(b)(6) witness
              shelter is the appropriate place to   testified that the purpose of the “72-
 7                                                  hour intake assessment” is to
              house the minor considering the
 8                                                  “determine if a child is in visible
              minor’s physical and emotional state. distress, injured; uncontrollably sad or
 9                                                  in any direction . . . [i]f the child is
10                                                  obviously sick, has a high temperature
              (See HHS 30(b)(6) Depo at 80:15-19) of 106. . . . we are going to proceed
11                                                  with our standard operating
12                                                  procedures.” J. Gonzalez Tr. 80:7-
                                                    81:2, Ex. E. The case manager
13                                                  responsible to A.F.A.J. during the time
14                                                  she was held at BCFS testified that
                                                    “during that initial intake assessment,
15                                                  we cover rules and expectations. And
16                                                  that was pretty much it.” G. Alvarez-
                                                    Ramos Tr. 50:8-20, Ex. Q.
17
18     49.    ORR’s standard operating procedures Mischaracterizes prior testimony;
                                                    confusion of issues (FRE 403)
19            require a full assessment of the
                                                    Defendant’s 30(b)(6) representative
20            child’s mental, physical, social      described this “full assessment” as
                                                    designed to identify children who hear
21            background so that the child can have
                                                    voices encouraging them to kill others,
22            a successful stay in a shelter.       children have a “heightened medical
                                                    situation,” and children who are being
23                                                  held with their alleged smuggler. The
24            (See HHS 30(b)(6) Depo at 80:24-      testimony did not say that the
                                                    assessment was to ensure “that the
25            81:6)
                                                    child can have a successful stay.”
26                                                  Gonzalez Tr. 81:24-83:25, Ex. E.
27
28                                             - 26 -
     PLAINTIFFS’ EVIDENTIARY OBJECTIONS TO DEFENDANT’S PROFFERED EVIDENCE IN SUPPORT OF
     MOTION FOR SUMMARY JUDGMENT AND TO THE DECLARATION OF JAMES DE LA CRUZ
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 1                 Defendant’s Statement of             Grounds for Plaintiffs’ Objection
                        Undisputed Facts
 2
       50.    After the preliminary assessment, an    More prejudicial than probative;
 3                                                    misleading (FRE 403)
              individual service plan is prepared for
 4                                                    The asserted fact is misleading
              the child, which includes individual    because A.F.A.J. testified that she did
 5                                                    not receive any therapy or counseling
              counseling and group counseling,
 6                                                    while at BCFS. SOF ¶ 144.
              each occurring once a week.
 7                                                    Lack of personal knowledge;
 8                                                    speculation (FRE 602)
              (See HHS 30(b)(6) Depo at 86:22-25, The asserted fact is speculative.
 9                                                    Defendant failed to produce any
              87:4-25, 88:19-25)
10                                                    witness who has any personal
                                                      knowledge of how A.F.A.J. was
11                                                    treated at BCFS or any witness who
12                                                    spoke to anyone with personal
                                                      knowledge of how A.F.A.J. was
13                                                    treated at BCFS. See Gonzalez Tr.
14                                                    15:6-11(testifying that he did not
                                                      speak to, or attempt to speak to,
15                                                    anyone who had interacted with
16                                                    A.F.A.J. during the time she was held
                                                      by Defendant at BCFS), Ex. E; G.
17                                                    Alvarez-Ramos Tr. 187:17-190:6,
18                                                    260:3-261:8 (testifying that she has no
                                                      recollection of A.F.A.J. or of any child
19                                                    in her care during her tenure with
20                                                    BCFS), Ex. Q.

21     51.    ORR policy allows children to call     More prejudicial than probative;
22                                                   misleading (FRE 403)
              their families at least twice a week.
                                                     The asserted fact is misleading
23            This doesn’t include calls that may be because A.F.A.J.’s testimony and
24                                                   evidence in the record establishes that
              needed to obtain reunification
                                                     in this case, she was only able to speak
25            information. Also, if a child is in    to her father once during the time
26                                                   Defendant held her at BCFS; that call
                                                     happened weeks after her arrival at
27
28                                             - 27 -
     PLAINTIFFS’ EVIDENTIARY OBJECTIONS TO DEFENDANT’S PROFFERED EVIDENCE IN SUPPORT OF
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 1                  Defendant’s Statement of                Grounds for Plaintiffs’ Objection
                        Undisputed Facts
 2
              distress he/she may be provided with         BCFS. SOF ¶¶ 156-57. A.F.A.J. also
 3                                                         testified that she first spoke with her
              additional phone calls to family.
 4                                                         mother several weeks after Defendant
                                                           transported A.F.A.J. to BCFS. SOF ¶
 5                                                         155.
              (See HHS 30(b)(6) Depo at 89:14-
 6
              90:11)                                       Lack of personal knowledge;
 7                                                         speculation (FRE 602)
 8                                                         The asserted fact is also speculative.
                                                           Defendant failed to produce any
 9                                                         witness who has any personal
10                                                         knowledge of how A.F.A.J. was
                                                           treated at BCFS or any witness who
11                                                         spoke to anyone who has personal
12                                                         knowledge of how A.F.A.J. was
                                                           treated at BCFS. See Gonzalez Tr.
13                                                         15:6-11(testifying that he did not
14                                                         speak to, or attempt to speak to,
                                                           anyone who had interacted with
15                                                         A.F.A.J. during the time she was held
16                                                         by Defendant at BCFS), Ex. E;
                                                           Alvarez-Ramos Tr. 187:17-190:6,
17                                                         260:3-261:8 (testifying that she has no
18                                                         recollection of A.F.A.J. or of any child
                                                           in her care during her tenure with
19                                                         BCFS), Ex. Q.
20
       52.    The process of reunification begins as More prejudicial than probative;
21                                                   misleading (FRE 403)
              soon as the child comes into ORR
22                                                   The asserted fact is speculative and
              custody.                               not relevant to this case. The evidence
23                                                   is uncontroverted that Defendant never
24                                                   undertook steps to reunify A.F.A.J.
              (See HHS 30(b)(6) Depo at 105:13-      with her father. Reunification was
25                                                   achieved only after multiple court
              19)
26                                                   orders and intervention by counsel and
                                                     elected officials.
27
28                                                - 28 -
     PLAINTIFFS’ EVIDENTIARY OBJECTIONS TO DEFENDANT’S PROFFERED EVIDENCE IN SUPPORT OF
     MOTION FOR SUMMARY JUDGMENT AND TO THE DECLARATION OF JAMES DE LA CRUZ
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 1                Defendant’s Statement of                  Grounds for Plaintiffs’ Objection
                      Undisputed Facts
 2
       53.    ORR’s reunification checklist must           Unauthenticated document. (FRE
 3                                                         901); inadmissible hearsay (FRE 802)
              be completed before a child is
 4                                                         This document (Reunification
              released into a sponsor’ custody.            Checklist) is unauthenticated (FRE
 5                                                         901) and is inadmissible hearsay.
 6                                                         (FRE 802.) It also lacks foundation as
              (See Duvall Decl. ¶ 4, Ex. 3                 a business record for purposes of FRE
 7                                                         803(6).
              (Reunification Checklist))
 8
                                                           Assumes facts not in evidence; lack of
 9                                                         foundation (FRE 901)
10                                                         The document does not support the
                                                           fact asserted. The existence of a
11                                                         reunification checklist, Duvall Decl. ¶
12                                                         4, Ex. 3, says nothing of whether such
                                                           a “reunification checklist must be
13                                                         completed before a child is released
14                                                         into a sponsor’ custody.”

15     54.    In 2018, the average length of stay in       Not relevant (FRE 401-402)
16                                                         The average length of stay in ORR
              ORR custody was 60 days.
                                                           custody is not relevant to Plaintiffs’
17                                                         claims or Defendant’s defenses.
18            (See HHS 30(b)(6) Depo at 114:2-5)
                                                           More prejudicial than probative;
19                                                         misleading (FRE 403)
20                                                         The asserted fact is unclear and
                                                           misleading. It is unclear whether the
21                                                         testimony cited by Defendant refers to
22                                                         the average length of time children
                                                           stayed at all ORR shelters, all BCFS
23                                                         shelters, all BCFS foster homes or
24                                                         something else. It is also unclear what
                                                           point in time in 2018 the purported
25                                                         average reflects. Moreover, the case
26                                                         manager responsible for A.F.A.J.’s
                                                           care during the time she was held at
27
28                                                - 29 -
     PLAINTIFFS’ EVIDENTIARY OBJECTIONS TO DEFENDANT’S PROFFERED EVIDENCE IN SUPPORT OF
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 1                 Defendant’s Statement of               Grounds for Plaintiffs’ Objection
                      Undisputed Facts
 2
                                                         BCFS was unable to provide an
 3                                                       average length of stay for children at
 4                                                       BCFS. See G. Alvarez-Ramos Tr.
                                                         254:18-259:11, Ex. Q.
 5
 6     55.    Once a child’s case is approved for        Lack of personal knowledge;
                                                         speculation (FRE 602)
 7            release, the child should be released
                                                         The statement is not a factual assertion
 8            within 72 hours.                           but is instead one person’s speculation
                                                         as to what “should” occur.
 9
10            (See HHS 30(b)(6) Depo at 132-7-16)

11     56.    A.F.A.J. had her own individualized        Unauthenticated document (FRE 901);
                                                         Inadmissible hearsay (FRE 802)
12            service plan.
                                                         This document (Individualized Service
13                                                       Plan) is unauthenticated (FRE 901)
                                                         and is inadmissible hearsay. (FRE
14            (See Duvall Decl. ¶ 2, Ex.1
                                                         802.) It also lacks foundation as a
15            (Individual Service Plan))                 business record for purposes of FRE
                                                         803(6).
16
17                                                       More prejudicial than probative;
                                                         misleading (FRE 403)
18                                                       The asserted fact is misleading. The
19                                                       existence of a document titled
                                                         “Individual Service Plan,” Duvall
20                                                       Decl. ¶ 2, Ex. 1, does not establish that
21                                                       said document was individualized for
                                                         A.F.A.J. Defendant’s 30(b)(6) witness
22                                                       and the case manager responsible for
23                                                       A.F.A.J.’s care during the time she
                                                         was held at BCFS both testified that
24                                                       the document Defendant cites to
25                                                       reflects the “minimum” services
                                                         available to a child in ORR’s custody.
26                                                       SOF ¶ 137.
27
28                                              - 30 -
     PLAINTIFFS’ EVIDENTIARY OBJECTIONS TO DEFENDANT’S PROFFERED EVIDENCE IN SUPPORT OF
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 1                 Defendant’s Statement of                Grounds for Plaintiffs’ Objection
                        Undisputed Facts
 2
       59.    A.F.A.J. testified that she found her       Mischaracterizes prior testimony;
 3                                                        misleading (FRE 403)
              bed at BCFS comfortable.
 4                                                        Defendant mischaracterizes prior
                                                          testimony, and the asserted fact is
 5                                                        therefore misleading. The statement
              (See A.F.A.J. Depo at 45:3-4)
 6                                                        implies that A.F.A.J. was comfortable
                                                          in ORR custody at BCFS or that she
 7                                                        was not suffering from sleep problems
 8                                                        caused by Defendant’s forcible
                                                          separation of A.F.A.J. from her father.
 9                                                        However, A.F.A.J. testified that she
10                                                        had difficulty sleeping at BCFS. SOF
                                                          ¶ 153.
11
12     63.    While at BCFS, A.F.A.J. watched             More prejudicial than probative;
                                                          misleading (FRE 403)
13            movies, played board games, made
                                                          The asserted fact is misleading
14            friends, and played football and            because it implies that A.F.A.J. was
                                                          happy or enjoyed her time in custody
15            baseball.
                                                          at BCFS. However, testimony by
16                                                        A.F.A.J. and Mr. Arredondo, along
                                                          with evidence produced by Defendant,
17            (See A.F.A.J. Depo at 46:21-47:16)
                                                          shows that during the time she was
18                                                        held at BCFS, A.F.A.J. had difficulty
                                                          sleeping, felt anxious and desperate,
19                                                        missed her family, and reported to
20                                                        BCFS that was very sad and worried.
                                                          SOF ¶ 145-46, 153, 175.
21
22     64.    A.F.A.J. was able to take showers           Assumes facts not in evidence; lack of
                                                          foundation (FRE 901)
23            every night at BCFS.
                                                          The cited testimony does not support
24                                                        the fact asserted. A.F.A.J. testified that
                                                          she was able to take showers during
25            (See A.F.A.J. Depo at 47:3-6)
                                                          the time she was held at BCFS, and
26                                                        that when she took showers it was at
                                                          night. She did not testify that she was
27
28                                               - 31 -
     PLAINTIFFS’ EVIDENTIARY OBJECTIONS TO DEFENDANT’S PROFFERED EVIDENCE IN SUPPORT OF
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 1                  Defendant’s Statement of                Grounds for Plaintiffs’ Objection
                       Undisputed Facts
 2
                                                           “able to take showers every night at
 3                                                         BCFS.”
 4
       65.    A.F.A.J. was able to speak to her            More prejudicial than probative;
 5                                                         misleading (FRE 403)
              mother and cousin while at BCFS.
 6                                                         The asserted fact implies that A.F.A.J.
                                                           was able to speak with her mother and
 7                                                         cousin throughout her time detained in
              (See A.F.A.J. Depo at 47:17-24)
 8                                                         ORR custody or that the alleged ORR
                                                           policy regarding phone calls with
 9                                                         families was followed. However, this
10                                                         statement is misleading because
                                                           A.F.A.J. testified that she first spoke
11                                                         with her mother several weeks after
12                                                         Defendant transported A.F.A.J. to
                                                           BCFS. SOF ¶ 155.
13
14     67.    A.F.A.J. spoke to her father while at        More prejudicial than probative;
                                                           misleading (FRE 403)
15            BCFS and learned he was in
                                                           The asserted fact implies that A.F.A.J.
16            detention.                                   spoke with her father more than once
                                                           while detained in ORR custody at
17                                                         BCFS or that the ORR policy
18            (See A.F.A.J. Depo at 48:8-14;               regarding phone calls with families
                                                           was followed. However, this statement
19            Plaintiff’s Depo at 99:19-22)
                                                           is misleading because A.F.A.J.’s
20                                                         testimony and evidence in the record
                                                           establish that she was only able to
21                                                         speak to her father once during the
22                                                         time Defendant held her at BCFS; that
                                                           call happened weeks after her arrival
23                                                         at BCFS. SOF ¶¶ 156-57.
24
       68.    A.F.A.J. testified that she felt safe at     Unauthenticated document (FRE 901);
25                                                         Inadmissible hearsay (FRE 802)
              the shelter.
26                                                         This document (BCFS satisfaction
                                                           survey) is unauthenticated (FRE 901)
27
28                                                - 32 -
     PLAINTIFFS’ EVIDENTIARY OBJECTIONS TO DEFENDANT’S PROFFERED EVIDENCE IN SUPPORT OF
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 1                  Defendant’s Statement of         Grounds for Plaintiffs’ Objection
                         Undisputed Facts
 2
              (See A.F.A.J. Depo at 48:25-49:1; see and is inadmissible hearsay. (FRE
 3                                                  802.) It also lacks foundation as a
              also Duvall Decl. ¶ 5, Ex.4 (BCFS
 4                                                  business record for purposes of FRE
              satisfaction survey))                 803(6).
 5
 6                                                      More prejudicial than probative;
                                                        misleading (FRE 403)
 7                                                      The asserted fact is misleading and
 8                                                      incomplete. The BCFS satisfaction
                                                        survey was prepared by the case
 9                                                      manager assigned to A.F.A.J.’s care
10                                                      during the time she was held at
                                                        BCFS—not by A.F.A.J. See Duvall
11                                                      Decl. ¶ 5, Ex.4; see also A.F.A.J. Tr.
12                                                      51:8-12 (testifying only that she
                                                        completed her name at the bottom).
13                                                      Additionally, the cited portion of
14                                                      A.F.A.J.’s testimony supports only
                                                        that A.F.A.J. felt physically safe; it
15                                                      ignores A.F.A.J.’s testimony about her
16                                                      emotional and mental state. See SOF ¶
                                                        145-46, 153, 175.
17
18     69.    A.F.A.J. was never punished at the        Not relevant (FRE 401-402)
                                                        Whether A.F.A.J. was ever punished
19            shelter.
                                                        at the shelter has no bearing on
20                                                      Plaintiffs’ claims and Defendant’s
                                                        motion.
21            (See A.F.A.J. Depo at 49:2-4)

22                                                      More prejudicial than probative;
                                                        misleading (FRE 403)
23                                                      The asserted fact is also misleading as
24                                                      it does not explain what constitutes
                                                        “punishment.” Nevertheless, A.F.A.J.
25                                                      never engaged in any conduct for
26                                                      which punishment would or should
                                                        have been considered.
27
28                                             - 33 -
     PLAINTIFFS’ EVIDENTIARY OBJECTIONS TO DEFENDANT’S PROFFERED EVIDENCE IN SUPPORT OF
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 1                 Defendant’s Statement of                Grounds for Plaintiffs’ Objection
                        Undisputed Facts
 2
       70.    A.F.A.J. learned from her case              More prejudicial than probative;
 3                                                        misleading (FRE 403.)
              manager Glorimar that she would be
 4                                                        The asserted fact is incomplete and
              reunited with her mother and sisters.       therefore misleading as Defendant
 5                                                        ignores A.F.A.J.’s additional
              Glorimar was nice to A.F.A.J. and
 6                                                        testimony on this issue, which
              A.F.A.J. testified that she felt            provides greater context. A.F.A.J. Tr.
 7                                                        94:4-14 (testifying that she did not
              comfortable discussing any problems
 8                                                        trust her case manager and only felt
              with her.                                   that she could speak to the case
 9                                                        manager about things she needed, not
10                                                        how she felt), Ex. N.
              (See A.F.A.J. Depo at 51:23-52:13)
11
       71.    A.F.A.J.’s reunification checklist was Unauthenticated document (FRE 901);
12                                                   Inadmissible hearsay (FRE 802)
              completed and signed by her case
13                                                   This document (Family Reunification
              manager on June 5, 2018.               Checklist) is unauthenticated (FRE
14                                                   901) and is inadmissible hearsay.
15                                                   (FRE 802.) It also lacks foundation as
              (See Duvall Decl. ¶ 4, Ex. 3)          a business record for purposes of FRE
16                                                   803(6).
17
       72.    On June 8, 2019, ORR approved the           Unauthenticated document (FRE 901);
18                                                        Inadmissible hearsay (FRE 802)
              release of A.F.A.J. to her mother.
19                                                        This document (Email re: straight
                                                          release approval) is unauthenticated
20                                                        (FRE 901) and is inadmissible
              (See Duvall Decl. ¶ 6, Ex. 5 (UAC
21                                                        hearsay. (FRE 802.) It also lacks
              straight release approval))                 foundation as a business record for
22                                                        purposes of FRE 803(6).
23
       73.    One June 9, 2018, A.F.A.J. was              Unauthenticated document (FRE 901);
24                                                        Inadmissible hearsay (FRE 802)
              released from ORR custody to her
25                                                        This document (Verification of
              mother in Los Angeles, California.          Release) is unauthenticated (FRE 901)
26                                                        and is inadmissible hearsay. (FRE
27                                                        802.) It also lacks foundation as a
28                                               - 34 -
     PLAINTIFFS’ EVIDENTIARY OBJECTIONS TO DEFENDANT’S PROFFERED EVIDENCE IN SUPPORT OF
     MOTION FOR SUMMARY JUDGMENT AND TO THE DECLARATION OF JAMES DE LA CRUZ
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 1                 Defendant’s Statement of              Grounds for Plaintiffs’ Objection
                      Undisputed Facts
 2
              (See Duvall Decl. ¶ 7, Ex. 6              business record for purposes of FRE
 3                                                      803(6).
              (Verification of Release))
 4
       74.    On May 18, 2018, Mr. Arredondo            Unauthenticated document (FRE 901);
 5                                                      Inadmissible hearsay (FRE 802)
              was transferred to the Rio Grande
 6                                                      This document (EARM Person
              Detention Center.                         History for E.FA.R.) is
 7                                                      unauthenticated (FRE 901) and is
 8                                                      inadmissible hearsay. (FRE 802.) It
              (See Lynch Decl. ¶ 5, Ex.1; Marquez       also lacks foundation as a business
 9                                                      record for purposes of FRE 803(6).
              Decl. ¶ 4, Ex. 3 (ICE 30(b)(6) Depo)
10
              at 44:7-45:24)                            Moreover, because Defendant failed to
11                                                      produce a witness who created the
12                                                      document or could attest to when it
                                                        was created and because the document
13                                                      contains various and internally
14                                                      inconsistent dates of creation, there is
                                                        a strong indication that the document
15                                                      was created after-the-fact.
16
       75.    The Rio Grande Detention Center is        More prejudicial than probative;
17                                                      misleading (FRE 403)
              used by ICE.
18                                                      The asserted fact is incomplete and
                                                        therefore misleading. The Rio Grande
19                                                      Processing Center, its actual name, is a
              (See ICE 30(b)(6) Depo at 48:4-11)
20                                                      privately owned, for-profit detention
                                                        facility whose clients are ICE and the
21                                                      U.S. Marshals Service. Defendant’s
22                                                      30(b)(6) witness testified that the Rio
                                                        Grande Detention Center is “used by
23                                                      the U.S. Marshals and ICE ERO.” M.
24                                                      Burke Tr. 48:4-11, Ex. T. The Rio
                                                        Grande Detention Center was used by
25                                                      the Marshals for “pretrial inmates.” Id.
26                                                      57:16-58:6.
27
28                                             - 35 -
     PLAINTIFFS’ EVIDENTIARY OBJECTIONS TO DEFENDANT’S PROFFERED EVIDENCE IN SUPPORT OF
     MOTION FOR SUMMARY JUDGMENT AND TO THE DECLARATION OF JAMES DE LA CRUZ
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 1                 Defendant’s Statement of              Grounds for Plaintiffs’ Objection
                        Undisputed Facts
 2
       76.    In 2018, there were a higher number    Lack of personal knowledge;
 3                                                   speculation (FRE 602)
              of detainees in Rio Grande than
 4                                                   Defendant’s 30(b)(6) witness does not
              usual, but Rio Grande was still within have firsthand knowledge of the
 5                                                   crowding conditions at Rio Grande.
              its capacity limits and there was no
 6                                                   She testified that she was unfamiliar
              overcrowding problem.                  with how population was tracked at
 7                                                   the Rio Grande Detention Center and
 8                                                   did not review historical data in
              (See ICE 30(b)(6) Depo at 65:20-       preparing for her deposition. M. Burke
 9                                                   Tr. 66:11-23, Ex. T. In fact, Mr.
              66:9)
10                                                   Arredondo actually testified that the
                                                     room he was held in at the Rio Grande
11                                                   Detention Center was overcrowded.
12                                                   See SOF ¶ 171.

13     77.    In 2018, the Rio Grande Detention         Assumes facts not in evidence; lack of
14                                                      personal knowledge; speculation.
              Center had an open housing layout
                                                        (FRE 602)
15            for noncitizens, which is an open bay     The cited testimony does not support
16                                                      the fact asserted. Defendant’s 30(b)(6)
              area that can hold 50-100 detainees.
                                                        witness testified that “many of our
17                                                      facilities have an open bay are . . .
18                                                      which can hold between 50 and a
              (See ICE 30(b)(6) Depo at 60:1-7,
                                                        hundred detainees. . . . it varies by
19            60:20-61:2, 61:7-17)                      facility.” M. Burke Tr. 61:9-13
20                                                      (emphasis added), Ex. T. However,
                                                        she does not have firsthand knowledge
21                                                      of the facility.
22
                                                        Further, the cited testimony does not
23                                                      support the asserted fact that the
24                                                      individuals held were all noncitizens.
                                                        Defendant’s 30(b)(6) witness testified
25                                                      that she did not know what portion of
26                                                      the open housing space was occupied
                                                        by noncitizens. Id. 61:3-6.
27
28                                             - 36 -
     PLAINTIFFS’ EVIDENTIARY OBJECTIONS TO DEFENDANT’S PROFFERED EVIDENCE IN SUPPORT OF
     MOTION FOR SUMMARY JUDGMENT AND TO THE DECLARATION OF JAMES DE LA CRUZ
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 1                Defendant’s Statement of                Grounds for Plaintiffs’ Objection
                      Undisputed Facts
 2
       80.    On May 18, 2018, Mr. Arredondo             Unauthenticated document (FRE 901);
 3                                                       Inadmissible hearsay (FRE 802)
              arrived at the Rio Grande Detention
 4                                                       This document (Detainee Orientation
              Center and he was able to call his         Acknowledgement) is unauthenticated
 5                                                       (FRE 901) and is inadmissible
              wife’s niece.
 6                                                       hearsay. (FRE 802.) It also lacks
                                                         foundation as a business record for
 7                                                       purposes of FRE 803(6).
              (See Plaintiff’s Depo at 84:22-85:15;
 8
              see also Lynch Decl. ¶ 6b, Ex. 3 (Rio      Moreover, because Defendant failed to
 9                                                       produce a witness who created the
              Grande Detainee Orientation
10                                                       document or could attest to when it
              Acknowledgement))                          was created and because the document
11                                                       contains various and internally
12                                                       inconsistent dates of creation, there is
                                                         a strong indication that the document
13                                                       was created after-the-fact.
14
       81.    His wife’s niece informed him about   More prejudicial than probative;
15                                                  misleading (FRE 403)
              his wife’s whereabouts.
16                                                  The asserted fact is misleading
                                                    because it omits that his wife’s niece
17                                                  was unable to provide him with
              (See Plaintiff’s Depo at 82:19-83:12,
18                                                  A.F.A.J.’s whereabouts. See E.F.A.R.
              84:22-85:15; Lynch Decl. ¶ 6b, Ex. 3) Tr. 85:2-10, Ex. O.
19
       82.    On May 18, 2018, Mr. Arredondo             Unauthenticated document (FRE 901);
20                                                       Inadmissible hearsay (FRE 802)
              was provided with bedding, personal
21                                                       This document (Rio Grande Property
              hygiene products, and clothing.            Receipt) is unauthenticated (FRE 901)
22                                                       and is inadmissible hearsay. (FRE
23                                                       802.) It also lacks foundation as a
              (See Lynch Decl. ¶ 6a, Ex. 2 (Rio          business record for purposes of FRE
24                                                       803(6).
              Grande Property Receipt); Plaintiff’s
25
              Depo at 87:5-13; ICE 30(b)(6) 80:14-
26
              81:2)
27
28                                              - 37 -
     PLAINTIFFS’ EVIDENTIARY OBJECTIONS TO DEFENDANT’S PROFFERED EVIDENCE IN SUPPORT OF
     MOTION FOR SUMMARY JUDGMENT AND TO THE DECLARATION OF JAMES DE LA CRUZ
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 1                 Defendant’s Statement of                Grounds for Plaintiffs’ Objection
                      Undisputed Facts
 2
                                                          Lack of personal knowledge;
 3                                                        speculation (FRE 602)
 4                                                        Defendant’s 30(b)(6) witness lacks
                                                          firsthand knowledge as she did not
 5                                                        personally interact with Mr.
 6                                                        Arredondo or speak with anyone with
                                                          knowledge of the conditions of Mr.
 7                                                        Arredondo’s confinement. However,
 8                                                        despite her lack of personal
                                                          knowledge, she testified that he was
 9                                                        issued personal hygiene product,
10                                                        which is speculative. See M. Burke Tr.
                                                          19:14-20 (testifying that the
11                                                        individuals she spoke with to prepare
12                                                        for the deposition had no interaction
                                                          with or personal knowledge of Mr.
13                                                        Arredondo), Ex. T.
14
       84.    Mr. Arredondo participated in               Mischaracterizes prior testimony;
15                                                        misleading (FRE 403)
              activities such as religious services.
16                                                        This asserted fact mischaracterizes Mr.
                                                          Arredondo’s prior testimony. Mr.
17                                                        Arredondo testified that the only
              (See Plaintiff’s Depo at 87:16-22)
18                                                        activity in which he participated was
                                                          religious services. He did not
19                                                        participate in activities (plural) “such
20                                                        as” religious activities.
21     86.    Mr. Arredondo was able to take              More prejudicial than probative;
22                                                        misleading (FRE 403)
              showers at Rio Grande Detention
                                                          The asserted fact is misleading
23            Center.                                     because it implies that Mr. Arredondo
24                                                        was able to take showers at will,
                                                          which is unsupported by any evidence.
25            (See Plaintiff’s Depo at 104:25-
26            105:4)
27
28                                               - 38 -
     PLAINTIFFS’ EVIDENTIARY OBJECTIONS TO DEFENDANT’S PROFFERED EVIDENCE IN SUPPORT OF
     MOTION FOR SUMMARY JUDGMENT AND TO THE DECLARATION OF JAMES DE LA CRUZ
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 1                 Defendant’s Statement of           Grounds for Plaintiffs’ Objection
                        Undisputed Facts
 2
       88.    Other than getting his molar removed, More prejudicial than probative;
 3                                                  misleading (FRE 403)
              Mr. Arredondo did not have any other
 4                                                  The asserted fact is false, incomplete
              physical health issues in Rio Grande. and therefore misleading. Mr.
 5                                                  Arredondo testified that he had many
 6                                                  other health issues. He did not tell
              (See Plaintiff’s Depo at 90:10-22)    anyone or receive treatment for his
 7                                                  health issues, and physical symptoms
 8                                                  of the anxiety manifested later (at
                                                    other detention centers). E.F.A.R. Tr.
 9                                                  90:10-22, Ex. O.
10
       89.    On or about May 23, 2018, Mr.             Unauthenticated document (FRE 901);
11                                                      Inadmissible hearsay (FRE 802)
              Arredondo submitted a detainee
12                                                      This document (Detainee Request
              request form for information about        Form) is unauthenticated (FRE 901)
13                                                      and is inadmissible hearsay. (FRE
              A.F.A.J.’s whereabouts.
14                                                      802.) It also lacks foundation as a
                                                        business record for purposes of FRE
15                                                      803(6).
              (See Lynch Decl. ¶ 6c, Ex.4
16
              (Detainee Request Form); Plaintiff’s      Moreover, because Defendant failed to
17                                                      produce a witness who created the
              Depo 94:12-97:15)
18                                                      document or could attest to when it
                                                        was created and because the document
19                                                      contains various and internally
20                                                      inconsistent dates of creation, there is
                                                        a strong indication that the document
21                                                      was created after-the-fact.
22
       90.    The detainee request form reflects  Unauthenticated document (FRE 901);
23                                                Inadmissible hearsay (FRE 802)
              that Mr. Arredondo learned of
24                                                This document (Detainee Request
              A.F.A.J.’s whereabouts on May 23,   Form) is unauthenticated (FRE 901)
25                                                and is inadmissible hearsay. (FRE
              2018. On or about May 30, 2018, Mr.
26                                                802.) It also lacks foundation as a
                                                  business record for purposes of FRE
27                                                803(6).
28                                             - 39 -
     PLAINTIFFS’ EVIDENTIARY OBJECTIONS TO DEFENDANT’S PROFFERED EVIDENCE IN SUPPORT OF
     MOTION FOR SUMMARY JUDGMENT AND TO THE DECLARATION OF JAMES DE LA CRUZ
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 1                 Defendant’s Statement of                 Grounds for Plaintiffs’ Objection
                      Undisputed Facts
 2
              Arredondo received a telephone call           Assumes facts not in evidence; lack of
 3                                                         foundation (FRE 901)
              from A.F.A.J.
 4                                                         The citations to the record do not
                                                           support the asserted fact that Mr.
 5                                                         Arredondo “learned of” anything in
              (See Lynch Decl. ¶ 6c, Ex.4
 6                                                         response to his request about
              (Detainee Request Form); Plaintiff’s         A.F.A.J.’s whereabouts. The cited
 7                                                         record only shows he made a request
              Depo at 99:19-22)
 8                                                         for that information. Further, Mr.
                                                           Arredondo testified that he did not
 9                                                         receive any response to his request for
10                                                         information about A.F.A.J.’s
                                                           whereabouts. E.F.A.R. Tr. 97:18-98:2,
11                                                         Ex. O.
12
       91.    On June 1, 2018, Mr. Arredondo               Unauthenticated document (FRE 901);
13                                                         Inadmissible hearsay (FRE 802)
              received a detainee transfer
14                                                         This document (Detainee Transfer
              notification informing him that he           Notification) is unauthenticated (FRE
15                                                         901) and is inadmissible hearsay.
              was being transferred to the Stewart
16                                                         (FRE 802.) It also lacks foundation as
              Detention Center in Lumpkin,                 a business record for purposes of FRE
17                                                         803(6).
              Georgia.
18
                                                           Moreover, because Defendant failed to
19                                                         produce a witness who created the
              (See Lynch Decl. ¶ 6d, Ex. 5
20                                                         document or could attest to when it
              (Detainee Transfer Notification))            was created and because the document
21                                                         contains various and internally
22                                                         inconsistent dates of creation, there is
                                                           a strong indication that the document
23                                                         was created after-the-fact.
24
                                                           Assumes facts not in evidence; lack of
25                                                         foundation (FRE 901)
26                                                         Though Mr. Arredondo’s signature is
                                                           on the document, the citation to record
27
28                                                - 40 -
     PLAINTIFFS’ EVIDENTIARY OBJECTIONS TO DEFENDANT’S PROFFERED EVIDENCE IN SUPPORT OF
     MOTION FOR SUMMARY JUDGMENT AND TO THE DECLARATION OF JAMES DE LA CRUZ
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 1                 Defendant’s Statement of               Grounds for Plaintiffs’ Objection
                      Undisputed Facts
 2
                                                         does not support or establish the
 3                                                       asserted fact that Mr. Arredondo
 4                                                       received the detainee transfer
                                                         notification. He testified that he was
 5                                                       never given this document while in
 6                                                       detention.

 7     92.    On June 4, 2018, Mr. Arredondo was         Unauthenticated document (FRE 901);
 8                                                       Inadmissible hearsay (FRE 802)
              transferred to the Stewart Detention
                                                         This document (EARM Person
 9            Center, in Lumpkin, Georgia, by            History for E.F.A.R.) is
10                                                       unauthenticated (FRE 901) and is
              airplane.
                                                         inadmissible hearsay. (FRE 802.) It
11                                                       also lacks foundation as a business
12                                                       record for purposes of FRE 803(6).
              (See Lynch Decl. ¶ 5, Ex.1; ICE
13            30(b)(6) Depo at 44:7-10, 46:2-17,         Moreover, because Defendant failed to
14                                                       produce a witness who created the
              93:4-11; Plaintiff’s Depo at 92:4-7)
                                                         document or could attest to when it
15                                                       was created and because the document
16                                                       contains various and internally
                                                         inconsistent dates of creation, there is
17                                                       a strong indication that the document
18                                                       was created after-the-fact.

19                                                       Lack of personal knowledge;
20                                                       speculation (FRE 602)
                                                         Defendant’s 30(b)(6) witness does not
21                                                       have firsthand knowledge of the
22                                                       circumstances of Mr. Arredondo’s
                                                         transfer to Stewart Detention Center
23                                                       nor did she speak to anyone with
24                                                       personal knowledge to prepare for her
                                                         testimony. Defendant was unable to
25                                                       produce any witness that had any
26                                                       knowledge about Mr. Arredondo’s
                                                         time in Defendant’s custody. Further,
27
28                                              - 41 -
     PLAINTIFFS’ EVIDENTIARY OBJECTIONS TO DEFENDANT’S PROFFERED EVIDENCE IN SUPPORT OF
     MOTION FOR SUMMARY JUDGMENT AND TO THE DECLARATION OF JAMES DE LA CRUZ
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 1                 Defendant’s Statement of                 Grounds for Plaintiffs’ Objection
                      Undisputed Facts
 2
                                                           Mr. Arredondo was not asked in his
 3                                                         deposition about when he was
 4                                                         transferred to Stewart Detention
                                                           Center. The dates referenced are
 5                                                         therefore unverified and disputed.
 6
       93.    Pursuant to ICE policy, restraints are       Assumes facts not in evidence; lack of
 7                                                         foundation (FRE 901)
              used during transfer for safety.
 8                                                         The cited testimony does not support
                                                           the fact asserted. Defendant’s 30(b)(6)
 9                                                         witness testified that “generally”
              (See ICE 30(b)(6) 95:18-20)
10                                                         restraints are used, but the “the
                                                           officers always have discretion” about
11                                                         using restraints. M. Burke Tr. 95:13-
12                                                         20, Ex. T.

13     94.    Mr. Arredondo was transferred to the Lack of personal knowledge;
14                                                 speculation (FRE 602)
              Stewart Detention Center because it
                                                   Defendant’s 30(b)(6) witness had no
15            was large, and a dedicated ICE       personal knowledge of Mr.
16                                                 Arredondo’s detention nor did she
              facility, and had space for new
                                                   speak to anyone with personal
17            intakes to decompress the Rio Grande knowledge to prepare for her
18                                                 testimony. M. Burke Tr. 19:14-20, Ex.
              Detention Center because it was
                                                   T. Defendant has offered no evidence
19            experiencing higher than usual       to support the assertion, nor any
20            population levels.                   witness involved in the transfer
                                                   decision. The cited testimony
21                                                 speculates as to the reason that Mr.
22            (See ICE 30(b)(6) Depo at 85:22-     Arredondo was transferred.
23            86:9; 91:19-25)
24     95.    Another factor that went into the            Lack of personal knowledge;
25                                                         speculation (FRE 602)
              decision to transfer Mr. Arredondo
                                                           Defendant’s 30(b)(6) representative
26            was the fact that he was being               had no personal knowledge of Mr.
27                                                         Arredondo’s detention nor did she
28                                                - 42 -
     PLAINTIFFS’ EVIDENTIARY OBJECTIONS TO DEFENDANT’S PROFFERED EVIDENCE IN SUPPORT OF
     MOTION FOR SUMMARY JUDGMENT AND TO THE DECLARATION OF JAMES DE LA CRUZ
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 1                 Defendant’s Statement of                Grounds for Plaintiffs’ Objection
                       Undisputed Facts
 2
              processed for expedited removal, and        speak to anyone with personal
 3                                                        knowledge to prepare for her
              therefore did not have a case pending
 4                                                        testimony. M. Burke Tr. 19:14-20, Ex.
              before an immigration judge in a            T. Defendant has offered no evidence
 5                                                        to support the assertion, nor any
              particular venue.
 6                                                        witness involved in the transfer
                                                          decision. The cited testimony
 7                                                        speculates as to the reason that Mr.
              (See ICE 30(b)(6) Depo at 86:10-
 8                                                        Arredondo was transferred.
              87:4)
 9
       96.    ICE officers consider many factors          Not relevant (FRE 401-402)
10                                                        The asserted fact is not relevant to
              when deciding to make a transfer
11                                                        Plaintiffs’ claims or Defendant’s
              including, but not limited to,              defenses. What ICE officers may do
12                                                        generally is not at issue in this action.
              detention space, location of the
13
              facility, and whether the detainee has      Lack of personal knowledge;
14                                                        speculation (FRE 602)
              family or legal counsel in the area.
15                                                        This asserted fact speculates as to the
                                                          factors that ICE officers consider in
16                                                        transferring a detainee. Defendant’s
              (See ICE 30(b)(6) 87:20-88:6, 90:13-
17                                                        ICE representative had no personal
              91:6)                                       knowledge of Mr. Arredondo’s
18                                                        detention nor did she speak to anyone
19                                                        with personal knowledge to prepare
                                                          for her testimony. M. Burke Tr. 19:14-
20                                                        20, Ex. T. Defendant has offered no
21                                                        evidence to support the assertion, nor
                                                          any witness involved in the transfer
22                                                        decision.
23
       97.    During the three-hour plane flight  More prejudicial than probative;
24                                                misleading (FRE 403)
              from Rio Grande to Stewart
25                                                The fact is misleading and incomplete,
              Detention Center, Mr. Arredondo was as it omits the fact that Mr. Arredondo
26                                                could not drink the water bottle. He
              provided with a sandwich and water.
27                                                was physically unable to open and
28                                               - 43 -
     PLAINTIFFS’ EVIDENTIARY OBJECTIONS TO DEFENDANT’S PROFFERED EVIDENCE IN SUPPORT OF
     MOTION FOR SUMMARY JUDGMENT AND TO THE DECLARATION OF JAMES DE LA CRUZ
     CASE NO. CV 22-02845-JLS-JC
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 1                 Defendant’s Statement of                Grounds for Plaintiffs’ Objection
                      Undisputed Facts
 2
                                                          drink the water bottle due to his
 3                                                        shackles. E.F.A.R. Tr. 92:12-21, Ex.
              (See Plaintiff’s Depo at 92:12-21)
 4                                                        O.

 5     99.    In 2018, Stewart Detention Center did More prejudicial than probative;
 6                                                  misleading (FRE 403)
              not experience overcrowding.
                                                    The asserted fact is misleading, as the
 7                                                  cited testimony only states that
 8                                                  Stewart did not have an overcrowding
              (See ICE 30(b)(6) 104:9-11)
                                                    problem in June 2018, specifically—
 9                                                  not all of 2018.
10
                                                          Lack of personal knowledge;
11                                                        speculation. (FRE 602)
12                                                        The asserted fact is speculative.
                                                          Defendant’s 30(b)(6) representative
13                                                        testified that she did not review
14                                                        historical data about the population
                                                          levels at Stewart Detention Center in
15                                                        preparing for her deposition. M. Burke
16                                                        Tr. 104:25-105:11, Ex. T.

17     102.   In 2018, each general population            More prejudicial than probative;
18                                                        misleading (FRE 403)
              housing unit had restroom facilities
                                                          The asserted fact is unclear and
19            and showers that could be used by           therefore misleading because it does
20                                                        not specify which detention center is
              detainees at any time.
                                                          being referenced. It is also misleading
21                                                        because it omits the fact that Mr.
22                                                        Arredondo had to get in line to use the
              (See ICE 30(b)(6) 105:22-106:8,
                                                          shower or bathroom. See E.F.A.R. Tr.
23            106:15-16)                                  105:1-4, Ex. O.
24
                                                          Lack of personal knowledge;
25                                                        speculation (FRE 602)
26                                                        Not only does the testimony cited by
                                                          Defendant not support the fact
27
28                                               - 44 -
     PLAINTIFFS’ EVIDENTIARY OBJECTIONS TO DEFENDANT’S PROFFERED EVIDENCE IN SUPPORT OF
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 1                 Defendant’s Statement of                Grounds for Plaintiffs’ Objection
                      Undisputed Facts
 2
                                                          asserted, but Defendant’s 30(b)(6)
 3                                                        witness also lacked firsthand
 4                                                        knowledge about the detention
                                                          facilities. She testified using
 5                                                        generalities, stating that it was
 6                                                        “dependent on many factors. But
                                                          generally speaking, detainees can use
 7                                                        facilities when they need them.” M.
 8                                                        Burke Tr. 106:9-16, Ex. T.

 9     105.   At Stewart Detention Center, Mr.      Mischaracterizes prior testimony;
10                                                  misleading (FRE 403)
              Arredondo claimed he was feeling ill,
                                                    The asserted fact mischaracterizes Mr.
11            but had no noticeable symptoms.       Arredondo’s testimony. Mr.
12                                                  Arredondo testified that he “had
                                                    allergies due to nervousness” and that
13            (See Plaintiff’s Depo 107:6-17)       his “hair would be falling off.”
14                                                  E.F.A.R. Tr. 107:6-17, Ex. O.

15                                                        However, there is no indication from
                                                          the citation that these symptoms were
16
                                                          not “noticeable” on the basis that they
17                                                        were not visible but rather that they
                                                          were not noticeable because he was
18
                                                          not in contact with many people. See
19                                                        id. 107:11-13.
20     106.   Mr. Arredondo never asked for               More prejudicial than probative;
21                                                        mischaracterizes prior testimony;
              medical treatment at the Stewart
                                                          misleading (FRE 403)
22            Detention Center.                           The asserted fact is misleading and
23                                                        mischaracterizes Mr. Arredondo’s
                                                          prior testimony. Mr. Arredondo
24            (See Plaintiff’s Depo 105:23-25)            testified that although he was visibly
25                                                        ill, he did not seek treatment at
                                                          Stewart out of fear because detainees
26                                                        who sought treatment risked being put
27                                                        into isolation for long periods of time,
28                                               - 45 -
     PLAINTIFFS’ EVIDENTIARY OBJECTIONS TO DEFENDANT’S PROFFERED EVIDENCE IN SUPPORT OF
     MOTION FOR SUMMARY JUDGMENT AND TO THE DECLARATION OF JAMES DE LA CRUZ
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 1                 Defendant’s Statement of                Grounds for Plaintiffs’ Objection
                      Undisputed Facts
 2
                                                          causing them to miss their interviews
 3                                                        and prolonging their detention.
 4                                                        E.F.A.R. Tr. 105:23-106:24, Ex. O;
                                                          see also SOF ¶¶ 183-91.
 5
 6     107.   On June 15, 2018, Mr. Arredondo             Unauthenticated document (FRE 901);
                                                          inadmissible hearsay (FRE 802)
 7            was transferred to Folkston
                                                          This document (EARM Person
 8            Immigration Processing Center so            History for E.F.A.R.) is
                                                          unauthenticated (FRE 901) and is
 9            that he could receive his credible fear
                                                          inadmissible hearsay. (FRE 802.) It
10            interview more efficiently.                 also lacks foundation as a business
                                                          record for purposes of FRE 803(6).
11
12            (See Lynch Decl. ¶ 5, Ex. 1; ICE            Moreover, because Defendant failed to
                                                          produce a witness who created the
13            30(b)(6) Depo at 44:7-10, 46:2-17,
                                                          document or could attest to when it
14            47:2-5,126:4-18)                            was created and because the document
                                                          contains various and internally
15                                                        inconsistent dates of creation, there is
16                                                        a strong indication that the document
                                                          was created after-the-fact.
17
18                                                        More prejudicial than probative;
                                                          misleading (FRE 403)
19                                                        Defendant’s characterization of the
20                                                        interview as a “credible fear
                                                          interview” and that the reason for
21                                                        transfer was for “efficiency” is
22                                                        misleading. ICE offered detainees
                                                          credible fear interviews over the
23                                                        telephone—their physical locations
24                                                        were irrelevant. If efficiency had been
                                                          important, Mr. Arredondo would have
25                                                        been provided with a credible fear
26                                                        interview when he arrived at the
                                                          Laredo Port of Entry. Moreover, when
27                                                        ICE provided Mr. Arredondo with
28                                               - 46 -
     PLAINTIFFS’ EVIDENTIARY OBJECTIONS TO DEFENDANT’S PROFFERED EVIDENCE IN SUPPORT OF
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 1                 Defendant’s Statement of              Grounds for Plaintiffs’ Objection
                      Undisputed Facts
 2
                                                        what it called a “credible fear
 3                                                      interview,” it was performed in an
 4                                                      unlawful manner, adjudicating not just
                                                        his fear but the merits of an asylum
 5                                                      claim. There was no reason for a
 6                                                      transfer to Folkston. Compare SOF ¶
                                                        202 and Exhibit 29 attached thereto
 7                                                      with Ex. E.
 8
                                                        Lack of personal knowledge;
 9                                                      speculation (FRE 602)
10                                                      This statement is inadmissible because
                                                        Defendant’s 30(b)(6) witness lacked
11                                                      personal knowledge to support this
12                                                      assertion, nor did she speak with
                                                        anyone who had personal knowledge
13                                                      of Mr. Arredondo while he was
14                                                      detained at Stewart or Folkston. M.
                                                        Burke Tr. 19:14-20 (testifying that the
15                                                      individuals she spoke with to prepare
16                                                      for the deposition had no interaction
                                                        with or personal knowledge of Mr.
17                                                      Arredondo), Ex. T.
18
       108.   In 2018, the Folkston Immigration      Assumes fact not in evidence; lack of
19                                                   personal knowledge; speculation (FRE
              Processing Center was similar to both
20                                                   602)
              the Rio Grande and Stewart             The cited testimony does not support
21                                                   the fact asserted. Further, the
              Detention Centers in that it had open
22                                                   statement is inadmissible because
              housing units, medical facilities, and Defendant’s 30(b)(6) witness lacked
23                                                   personal knowledge to support this
              recreation facilities.
24                                                   assertion, nor did she speak with
                                                     anyone who had personal knowledge
25                                                   of Mr. Arredondo while he was
              (See ICE 30(b)(6) 138:4-10)
26                                                   detained at Rio Grande, Stewart, or
                                                     Folkston. See M. Burke Tr. 19:14-20
27
28                                             - 47 -
     PLAINTIFFS’ EVIDENTIARY OBJECTIONS TO DEFENDANT’S PROFFERED EVIDENCE IN SUPPORT OF
     MOTION FOR SUMMARY JUDGMENT AND TO THE DECLARATION OF JAMES DE LA CRUZ
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 1                 Defendant’s Statement of                Grounds for Plaintiffs’ Objection
                      Undisputed Facts
 2
                                                          (testifying that the individuals she
 3                                                        spoke with to prepare for the
 4                                                        deposition had no interaction with or
                                                          personal knowledge of Mr.
 5                                                        Arredondo), Ex. T. She also had no
 6                                                        personal knowledge of Folkston. See
                                                          id. 137:10-138:16.
 7
 8     109.   In 2018, Folkston Immigration               Assumes fact not in evidence; lack of
                                                          personal knowledge; speculation (FRE
 9            Processing Center had bunk beds.
                                                          602)
10                                                        The cited testimony does not support
                                                          the fact asserted. Further, this
11            (See ICE 30(b)(6) 138:17-20)
                                                          statement is inadmissible because
12                                                        Defendant’s 30(b)(6) witness lacked
                                                          personal knowledge of Folkston, so
13                                                        her testimony about whether Folkston
14                                                        had bunk beds is speculation. See M.
                                                          Burke Tr. 137:10-138:20, Ex. T.
15
16     110.   In 2018, Folkston Immigration               Assumes fact not in evidence; lack of
                                                          personal knowledge; speculation (FRE
17            Processing Center had toilets, sinks,
                                                          602)
18            and showers in the housing unit.            The cited testimony does not support
                                                          the fact asserted. Further, this
19                                                        statement is inadmissible because
20            (See ICE 30(b)(6) 140:12-15)                Defendant’s 30(b)(6) witness had no
                                                          personal knowledge of Folkston. She
21                                                        speculated that the showering facilities
22                                                        would be similar to other detention
                                                          centers but acknowledged that they
23                                                        “vary by facility and it varies over
24                                                        time at each facility.” She further
                                                          testified that she did not know what
25                                                        the bathing facilities were like in the
26                                                        Folkston Detention Center during the
27
28                                               - 48 -
     PLAINTIFFS’ EVIDENTIARY OBJECTIONS TO DEFENDANT’S PROFFERED EVIDENCE IN SUPPORT OF
     MOTION FOR SUMMARY JUDGMENT AND TO THE DECLARATION OF JAMES DE LA CRUZ
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 1                 Defendant’s Statement of                Grounds for Plaintiffs’ Objection
                      Undisputed Facts
 2
                                                          period in question. See M. Burke Tr.
 3                                                        140:12-141:19, Ex. T.
 4
       113.   On June 16, 2018, Mr. Arredondo             Unauthenticated document (FRE 901);
 5                                                        Inadmissible hearsay (FRE 802)
              was provided with bedding, clothing,
 6                                                        This document (Folkston Property
              and personal hygiene products at            Receipt) is unauthenticated (FRE 901)
 7                                                        and is inadmissible hearsay. (FRE
              Folkston.
 8                                                        802.) It also lacks foundation as a
                                                          business record for purposes of FRE
 9                                                        803(6).
              (See Lynch Decl. ¶ 6g, Ex. 8
10
              (Folkston Property Receipts))
11
       117.   During the two and a half weeks, Mr.        Mischaracterizes prior testimony;
12                                                        misleading (FRE 403)
              Arredondo was at Folkston, he was
13                                                        The asserted fact mischaracterizes Mr.
              able to contact his family                  Arredondo’s testimony. Mr.
14                                                        Arredondo testified that he could not
              approximately five times.
15                                                        recall how many times he spoke with
                                                          his family. Defendant asked if it could
16                                                        have been five times, to which Mr.
              (See Plaintiff’s Depo 117:4-16)
17                                                        Arredondo testified that was possible,
                                                          but that he could not recall. See
18                                                        E.F.A.R. Tr. 117:4-17, Ex. O.
19
       118.   Mr. Arredondo did not ask for               Mischaracterizes prior testimony;
20                                                        misleading (FRE 403)
              medical treatment at Folkston
21                                                        The asserted fact mischaracterizes Mr.
              Immigration Processing Center.              Arredondo’s prior testimony and is
22                                                        misleading. Mr. Arredondo testified
23                                                        that he did not seek treatment at
              (See Plaintiff’s Depo 120:5-7)              Folkston for the same reason he had
24                                                        not sought treatment at Stewart
25                                                        Detention Facility—out of fear
                                                          because detainees who sought
26                                                        treatment were put into isolation and
27                                                        risked missing their interviews and
28                                               - 49 -
     PLAINTIFFS’ EVIDENTIARY OBJECTIONS TO DEFENDANT’S PROFFERED EVIDENCE IN SUPPORT OF
     MOTION FOR SUMMARY JUDGMENT AND TO THE DECLARATION OF JAMES DE LA CRUZ
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 1                 Defendant’s Statement of                 Grounds for Plaintiffs’ Objection
                      Undisputed Facts
 2
                                                           prolonging their detention. See
 3                                                         E.F.A.R. Tr. 120:5-10, Ex. O; see also
 4                                                         id. 105:23-106:24; SOF ¶¶ 183-91.

 5     119.   On June 19, 2018, Mr. Arredondo              Assumes facts not in evidence; more
 6                                                         prejudicial than probative; misleading
              had his credible fear interview over
                                                           (FRE 403)
 7            the telephone with an interpreter            The cited deposition testimony does
 8                                                         not support the fact that an interpreter
              present.
                                                           was present for Mr. Arredondo’s
 9                                                         telephonic interview. See E.F.A.R. Tr.
10                                                         123:5-13, Ex. O.
              (See Plaintiff’s Depo 123:5-13)
11                                                         Further, it is misleading to
12                                                         characterize the telephone
                                                           interrogation a credible fear interview.
13                                                         Instead, a credible fear interview is
14                                                         what Defendant purports the call to be.

15     120.   Mr. Arredondo explained why he was More prejudicial than probative;
16                                                   misleading (FRE 403)
              afraid to return to Guatemala and felt
                                                     The asserted fact is incomplete and
17            like he had enough time to explain     therefore misleading. Mr. Arredondo
18                                                   was not asked in the deposition cited
              why he was afraid.
                                                     whether he could understand the
19                                                   questions asked or whether he felt ill
20                                                   when the interview occurred. Evidence
              (See Plaintiff’s Depo 125:19-126:18)
                                                     in the record establishes that he felt
21                                                   that the interviewer was rushing him,
22                                                   he had difficulty following the
                                                     questions asked, he was ignored when
23                                                   he asked for questions to be repeated,
24                                                   and he felt physically ill. SOF ¶ 201.
25
26
27
28                                                - 50 -
     PLAINTIFFS’ EVIDENTIARY OBJECTIONS TO DEFENDANT’S PROFFERED EVIDENCE IN SUPPORT OF
     MOTION FOR SUMMARY JUDGMENT AND TO THE DECLARATION OF JAMES DE LA CRUZ
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 1                 Defendant’s Statement of               Grounds for Plaintiffs’ Objection
                       Undisputed Facts
 2
       121.   On June 28, 2018, Mr. Arredondo            Unauthenticated document (FRE 901);
 3                                                       Inadmissible hearsay (FRE 802)
              was transferred back to the Stewart
 4                                                       This document (EARM Person
              Detention Center by bus.                   History for E.F.A.R.) is
 5                                                       unauthenticated (FRE 901) and is
 6                                                       inadmissible hearsay. (FRE 802.) It
              (See Lynch Decl. ¶ 5, Ex.1; ICE            also lacks foundation as a business
 7                                                       record for purposes of FRE 803(6).
              30(b)(6) Depo at 44:7-10, 47:6-17;
 8
              Plaintiff’s Depo 140:11-13)                Moreover, because Defendant failed to
 9                                                       produce a witness who created the
10                                                       document or could attest to when it
                                                         was created and because the document
11                                                       contains various and internally
12                                                       inconsistent dates of creation, there is
                                                         a strong indication that the document
13                                                       was created after-the-fact.
14
                                                         Lack of personal knowledge;
15                                                       speculation (FRE 602)
16                                                       This asserted fact is also speculative.
                                                         Mr. Arredondo was not asked in his
17                                                       deposition about what date he was
18                                                       transferred back to Stewart Detention
                                                         Center. Defendant also failed to
19                                                       produce any witness that had any
20                                                       knowledge about the circumstances of
                                                         Mr. Arredondo’s confinement and
21                                                       transfer. See J. Rellis Tr. 15:2-12
22                                                       (testifying that she only spoke with
                                                         counsel to prepare for the deposition
23                                                       and that Defendant counsel advised
24                                                       her not to speak with any officers that
                                                         interacted with Mr. Arredondo), Ex.
25                                                       U; M. Burke Tr. 19:14-20 (testifying
26                                                       that the individuals she spoke with to
                                                         prepare for the deposition had no
27
28                                              - 51 -
     PLAINTIFFS’ EVIDENTIARY OBJECTIONS TO DEFENDANT’S PROFFERED EVIDENCE IN SUPPORT OF
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 1                 Defendant’s Statement of                Grounds for Plaintiffs’ Objection
                      Undisputed Facts
 2
                                                          interaction with or personal
 3                                                        knowledge of Mr. Arredondo), Ex. T;
 4                                                        E. Barry-Murphy Tr. 14:2-16:4
                                                          (testifying that she did not speak with
 5                                                        anyone other than counsel to prepare
 6                                                        for her deposition because she did not
                                                          “think it was necessary,” further
 7                                                        testifying that she did not speak with
 8                                                        anyone who interacted with Mr.
                                                          Arredondo during the time he was in
 9                                                        Defendant’s custody), Ex. V.
10
       122.   Mr. Arredondo was transferred back          Lack of personal knowledge;
11                                                        speculation (FRE 602)
              to Stewart Detention Center pending
12                                                        This statement is inadmissible because
              the outcome of his credible fear            Defendant’s 30(b)(6) witness had no
13                                                        personal knowledge of Mr.
              interview.
14                                                        Arredondo’s detention or reason for
                                                          his transfer, nor did she speak with
15                                                        anyone who interacted with him in
              (See ICE 30(b)(6) 162:10-163:4)
16                                                        preparation of her testimony.
                                                          Therefore, her testimony as to why
17                                                        Mr. Arredondo was transferred back to
18                                                        Stewart Detention Center is
                                                          speculative. See M. Burke Tr. 19:14-
19                                                        20, 162:10-163:4, 164:4-17, Ex. T.
20
       124.   While in Stewart Detention Center       Mischaracterizes prior testimony;
21                                                    misleading (FRE 403)
              this second time, prior to his removal,
22                                                    The asserted fact mischaracterizes Mr.
              Plaintiff contacted his family once or Arredondo’s testimony. Mr.
23                                                    Arredondo testified that he spoke to
              twice a week.
24                                                    his family “once, twice a week
                                                      maximum,” not that he spoke to them
25                                                    once or twice each week. E.F.A.R. Tr.
              (See Plaintiff’s Depo 141:24-142:4)
26                                                    141:24-142:4, Ex. O.
27
28                                               - 52 -
     PLAINTIFFS’ EVIDENTIARY OBJECTIONS TO DEFENDANT’S PROFFERED EVIDENCE IN SUPPORT OF
     MOTION FOR SUMMARY JUDGMENT AND TO THE DECLARATION OF JAMES DE LA CRUZ
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 1                 Defendant’s Statement of               Grounds for Plaintiffs’ Objection
                       Undisputed Facts
 2
       125.   On or about June 25, 2018, Mr.             Unauthenticated document (FRE 901);
 3                                                       Inadmissible hearsay (FRE 802)
              Arredondo learned over the phone
 4                                                       This document (Record of Negative
              from a USCIS male Immigration              Credible Fear Finding) is
 5                                                       unauthenticated (FRE 901) and is
              Analyst (through a Spanish
 6                                                       inadmissible hearsay. (FRE 802.) It
              interpreter) that the asylum officer       also lacks foundation as a business
 7                                                       record for purposes of FRE 803(6).
              determined that he had not
 8
              established credible fear of               Moreover, because Defendant failed to
 9                                                       produce a witness who created the
              persecution or torture.
10                                                       document or could attest to when it
                                                         was created and because the document
11                                                       contains various and internally
              (See Long Decl. ¶ 5A, Ex. 1;
12                                                       inconsistent dates of creation, there is
              Plaintiff’s Depo at 123:5-19, 130:18-      a strong indication that the document
13                                                       was created after-the-fact.
              23, 132:10-13; Pinchas Decl. ¶ 4, Ex.
14
              3 (T.R. Depo) 261:1-20, 267:24-            More prejudicial than probative;
15                                                       misleading (FRE 403)
              268:22)
16                                                       The asserted fact is misleading
                                                         because it omits that the officer told
17                                                       Mr. Arredondo that the United States
18                                                       does not deal with cases like Mr.
                                                         Arredondo’s anymore. The asserted
19                                                       fact is also contradicted by other
20                                                       evidence in the record showing that
                                                         his fear was in fact credible. SOF ¶
21                                                       202. Additionally, Mr. Arredondo
22                                                       testified that a male ICE agent
                                                         informed him of the decision, not a
23                                                       USCIS agent.
24
       126.   The USCIS Immigration Analyst        Assumes facts not in evidence; lack of
25                                                 foundation (FRE 901)
              advised Mr. Arredondo of the adverse
26                                                 The cited testimony does not support
              result and asked him twice whether   the asserted fact. The officer deposed
27
28                                              - 53 -
     PLAINTIFFS’ EVIDENTIARY OBJECTIONS TO DEFENDANT’S PROFFERED EVIDENCE IN SUPPORT OF
     MOTION FOR SUMMARY JUDGMENT AND TO THE DECLARATION OF JAMES DE LA CRUZ
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 1                  Defendant’s Statement of                Grounds for Plaintiffs’ Objection
                       Undisputed Facts
 2
              he requested review of the negative          in this case had no recollection of Mr.
 3                                                         Arredondo or his conversation with
              credible fear determination by an
 4                                                         Mr. Arredondo. See T. Rice Tr.
              Immigration Judge.                           309:25-310:21, Ex. P. Mr. Arredondo
 5                                                         testified that he could not recall being
 6                                                         told that he could request a review of
              (See T.R. Depo at 191:23-192:19,             the decision, but he did recall being
 7                                                         told that it was useless to speak with
              299:9-10, 300:14-17)
 8                                                         an immigration judge because
                                                           immigration judges would always
 9                                                         agree with ICE’s decision. SOF ¶¶
10                                                         204-05.

11     127.   The “Record of Negative Credible             Unauthenticated document (FRE 901);
12                                                         Inadmissible hearsay (FRE 802)
              Fear Finding and Request for Review
                                                           This document (Record of Negative
13            by Immigration Judge,” Form I-869,           Credible Fear Finding) is
14                                                         unauthenticated (FRE 901) and is
              reflects that Mr. Arredondo signed
                                                           inadmissible hearsay. (FRE 802.) It
15            the document and opted not to seek           also lacks foundation as a business
16                                                         record for purposes of FRE 803(6).
              Immigration Judge review of the
17            adverse decision.                            Moreover, because Defendant failed to
18                                                         produce a witness who created the
                                                           document or could attest to when it
19            (See Long Decl. ¶ 5A, Ex. 1;                 was created and because the document
20            Plaintiff’s Depo at 129:1-19; T.R.           contains various and internally
                                                           inconsistent dates of creation, there is
21            Depo at 261:1-20, 292:5-13, 294:15-          a strong indication that the document
22            20)                                          was created after-the-fact.
23                                                         More prejudicial than probative;
24                                                         mischaracterizes the evidence;
                                                           misleading (FRE 403)
25                                                         This asserted fact mischaracterizes the
26                                                         evidence and is misleading because it
                                                           omits that during his phone call with
27
28                                                - 54 -
     PLAINTIFFS’ EVIDENTIARY OBJECTIONS TO DEFENDANT’S PROFFERED EVIDENCE IN SUPPORT OF
     MOTION FOR SUMMARY JUDGMENT AND TO THE DECLARATION OF JAMES DE LA CRUZ
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 1                 Defendant’s Statement of              Grounds for Plaintiffs’ Objection
                      Undisputed Facts
 2
                                                        the ICE officer, Mr. Arredondo felt he
 3                                                      had no choice but to opt out of
 4                                                      Immigration Judge review because of
                                                        the pressure he felt from the ICE
 5                                                      agent. SOF ¶ 206.
 6
                                                        Further, Mr. Arredondo testified that
 7                                                      no one read, translated, or explained
 8                                                      the document called “Record of
                                                        Negative Credible Fear Finding” to
 9                                                      him, that he was not given a copy of it,
10                                                      and he did not check the boxes on the
                                                        form. SOF ¶ 207.
11
12     129.   Mr. Arredondo was removed on              More prejudicial than probative;
                                                        mischaracterizes the evidence;
13            August 22, 2018 because he had a
                                                        misleading (FRE 403)
14            final order of removal and had            The asserted fact mischaracterizes the
                                                        evidence and is misleading. It is
15            waived Immigration Court review.
                                                        disputed that Mr. Arredondo was
16                                                      removed “because he had a final order
                                                        of removal and had waived
17            (See ICE 30(b)(6) Depo 187:16-21)
                                                        Immigration Court review.” A District
18                                                      Court has already determined that Mr.
                                                        Arredondo was removed unlawfully in
19                                                      violation of multiple orders in the Ms.
20                                                      L case. Defendant did not appeal that
                                                        determination. See SOF ¶ 232.
21
22                                                      Additionally, the asserted fact omits
                                                        that during his phone call with the ICE
23                                                      officer, Mr. Arredondo felt he had no
24                                                      choice but to opt out of Immigration
                                                        Judge review because of the pressure
25                                                      he experienced from the ICE agent.
26                                                      See SOF ¶ 206.
27
28                                             - 55 -
     PLAINTIFFS’ EVIDENTIARY OBJECTIONS TO DEFENDANT’S PROFFERED EVIDENCE IN SUPPORT OF
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 1                    Defendant’s Statement of                Grounds for Plaintiffs’ Objection
                         Undisputed Facts
 2
                                                            The asserted fact also omits the legal
 3                                                          requirements that Defendant failed to
 4                                                          complete before Mr. Arredondo was
                                                            unlawfully deported. SOF ¶¶ 85-86.
 5
 6     130.     Before removing Mr. Arredondo, ICE More prejudicial than probative;
                                                    misleading (FRE 403)
 7              considered the Ms.L injunction and
                                                    This fact is misleading, as only
 8              determined that Mr. Arredondo-      Defendant made the erroneous
                                                    determination that Mr. Arredondo was
 9              Rodriguez was not a class member as
                                                    not a Ms. L. class member. In fact, a
10              of August 22, 2018.                 federal judge has already determined
                                                    that this asserted fact is false: that Mr.
11                                                  Arredondo was a class member when
12              (See ICE 30(b)(6) Depo 193:4-21,    the Ms. L. injunction was issued, and
                                                    that Mr. Arredondo was unlawfully
13              194:5-17)
                                                    deported. See SOF ¶ 232. Defendant
14                                                  did not appeal this determination.

15
16
     II.       EVIDENTIARY OBJECTIONS TO THE DECLARATION OF JAMES DE
17
     LA CRUZ
18
           ¶     Declaration of James De La Cruz              Grounds for Plaintiffs’ Objection
19
      2.        In 2002, Congress enacted the               Not relevant (FRE 401-402)
20
                                                            This paragraph is not relevant to
21              Homeland Security Act (“HSA”).
                                                            Plaintiffs’ claims or to Defendant’s
22              The HSA transferred responsibility          defenses.

23              for the care of UACs from the former

24              INS to ORR. Section 462 of the HSA,

25              codified at 6 U.S.C. § 279, defines a

26              UAC as “a child who - (A) has no

27              lawful immigration status in the

28                                                 - 56 -
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 1         ¶    Declaration of James De La Cruz                Grounds for Plaintiffs’ Objection
 2             United States; (B) has not attained 18
 3             years of age; and (C) with respect to
 4             whom - (i) there is no parent or legal
 5             guardian in the United States; or (ii)
 6             no parent or legal guardian in the
 7             United States is available to provide
 8             care and physical custody.” 6 U.S.C.
 9             § 279(g)(2). All of the functions
10             under the immigration laws with
11             respect to the care of UACs that were
12             vested by statute in, or performed by,
13             the Commissioner of INS were
14             transferred to the ORR Director. The
15             transfer became effective on March 1,
16             2003. After the transfer, ORR created
17             the Division of Unaccompanied
18             Children’s Services (“DUCS”) to
19             handle this new program.
20    3.       A cooperative agreement is a legal            Not relevant (FRE 401-402)
21                                                           This paragraph is not relevant to
               instrument used by an executive
                                                             Plaintiffs’ claims or to Defendant’s
22             agency to carry out a public purpose          motion.
23             authorized by a law of the United
                                                             To the extent that Defendant relies on
24             States. Cooperative agreements                the existence of “cooperative
25                                                           agreements” to argue that BCFS was an
               contemplate substantial involvement
                                                             independent contractor, and therefore
26             between the government and the                Defendant is not liable for BCFS’s
27                                                           actions, that argument is unavailing.

28                                                  - 57 -
     PLAINTIFFS’ EVIDENTIARY OBJECTIONS TO DEFENDANT’S PROFFERED EVIDENCE IN SUPPORT OF
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 1         ¶    Declaration of James De La Cruz                  Grounds for Plaintiffs’ Objection
 2             recipient of the agreement, but at the          BCFS, and its employees, act as agents
 3                                                             of Defendant, charged by Defendant
               same time designate specific
                                                               with the care of children in Defendant’s
 4             responsibilities to the recipient. The          custody. See HHS 30(b)(6) J Gonzalez
 5                                                             Tr. 19:4-19 (testifying that in 2018, in
               exact extent of the agency’s
                                                               his capacity as an ORR employee, he
 6             involvement depends on the                      oversaw the staff responsible for the
 7                                                             care of children at BCFS, referring to
               circumstances of each case. ORR
                                                               BCFS as “our shelter”), Ex. S.
 8             always retains the option to
 9             immediately halt a cooperative                  Further, the question of whether BCFS
                                                               and its employees are sufficiently
10             agreement recipient’s activities. The           removed from Defendant to qualify as
11             cooperative agreement mechanism                 an independent contractor for purposes
                                                               of liability is a question best left to the
12             was available to ORR at the time that           fact finder. See, e.g., Schuyler v. United
13             it was given responsibility for the             States, 987 F. Supp. 835, 845 (S.D.
                                                               Cal. 1997).
14             care of UACs (6 U.S.C. § 279(f)(1))
15             and was used in lieu of other funding
16             mechanisms.
17    4.       By statute, ORR is responsible for              Not relevant (FRE 401-402)
18                                                             This paragraph is not relevant to
               “identifying a sufficient number of
                                                               Plaintiffs’ claims or to Defendant’s
19             qualified individuals, entities, and            defenses.
20             facilities to house unaccompanied []
                                                      That “ORR chose to provide shelter
21             children[.]” 6 U.S.C. § 279(b)(1)(F). care services to UACs through
22                                                    cooperative agreements” awarded to
               ORR chose to provide shelter care
                                                      nongovernmental entities does not have
23             services to UACs through cooperative any relevance to the issues in this case.
24                                                    The nongovernmental entities that are
               agreements awarded to
                                                      parties to such cooperative agreements
25             nongovernmental entities. ORR has      and its employees act as agents of
26             determined that the use of grantees to Defendant, charged by Defendant with
                                                      the care of children in Defendant’s
27                                                    custody. See HHS 30(b)(6) J Gonzalez
28                                                    - 58 -
     PLAINTIFFS’ EVIDENTIARY OBJECTIONS TO DEFENDANT’S PROFFERED EVIDENCE IN SUPPORT OF
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 1         ¶    Declaration of James De La Cruz                 Grounds for Plaintiffs’ Objection
 2             provide shelter care services is the           Tr. 19:4-19 (testifying that in 2018, in
 3                                                            his capacity as an ORR employee, he
               most efficient means of providing
                                                              oversaw the staff responsible for the
 4             such services, with the resources              care of children at BCFS, referring to
 5                                                            BCFS as “our shelter”), Ex. S.
               made available by Congress, where
                                                              Thus, the nature of the relationship
 6             and when those services are needed.            between ORR and the
 7                                                            nongovernmental entities has no
               These facilities also provide a safe
                                                              bearing in this litigation.
 8             environment in the least restrictive
 9             setting appropriate for the child’s
10             needs while it attempts to unify
11             unaccompanied children with a
12             qualified sponsor.
13    5.       A review of Plaintiff A.F.A.J.’s UAC    Lack of personal knowledge;
14                                                     speculation (FRE 602)
               case file reflects that A.F.A.J. was in
                                                       The declarant, De La Cruz, did not
15             the legal custody of ORR from May       interact with A.F.A.J. or play any role
16                                                     in her case, and therefore the asserted
               17, 2018 until June 9, 2018, when she
                                                       facts in this paragraph are speculative
17             was reunified with her mother.          and inadmissible.
18             During that time, she was placed at
                                                              Not relevant (FRE 401-402)
19             BCFS Health and Human Services                 That BCFS maintains a cooperative
20                                                            agreement with ORR is not relevant to
               formerly known as Baptist Children
                                                              Plaintiffs’ claims or to Defendant’s
21             and Family Services (“BCFS”), in               defenses.
22             San Antonio, Texas, an ORR-funded,
                                                     BCFS and its employees, act as agents
23             independent contractor that maintains of Defendant, charged by Defendant
24             a cooperative agreement with ORR to with the care of children in Defendant’s
                                                     custody. See HHS 30(b)(6) J Gonzalez
25             provide housing and services to       Tr. 19:4-19 (testifying that in 2018, in
26             UACs.                                 his capacity as an ORR employee, he
                                                     oversaw the staff responsible for the
27
28                                                   - 59 -
     PLAINTIFFS’ EVIDENTIARY OBJECTIONS TO DEFENDANT’S PROFFERED EVIDENCE IN SUPPORT OF
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 1         ¶    Declaration of James De La Cruz               Grounds for Plaintiffs’ Objection
 2                                                          care of children at BCFS, referring to
 3                                                          BCFS as “our shelter”), Ex. S.

 4    6.       The ORR cooperative agreement with Unauthenticated document (FRE 901);
 5                                                  Inadmissible hearsay (FRE 802)
               BCFS is attached as Exhibit A. The
                                                    This document (ORR cooperative
 6             agreement required this program to   agreement) is unauthenticated (FRE
 7                                                  901) and is inadmissible hearsay. (FRE
               comply with all applicable state
                                                    802.) It also lacks foundation as a
 8             licensing requirements, ORR policies business record for purposes of FRE
 9                                                  803(6).
               and procedures, and the minimum
10             standards for licensing programs             Not relevant (FRE 401-402)
11             established by the Flores Agreement.         That BCFS maintains a cooperative
                                                            agreement with ORR is not relevant to
12                                                          Plaintiffs’ claims or to Defendant’s
13                                                          motion.

14                                                          BCFS and its employees, act as agents
15                                                          of Defendant, charged by Defendant
                                                            with the care of children in Defendant’s
16                                                          custody. See HHS 30(b)(6) J Gonzalez
17                                                          Tr. 19:4-19 (testifying that in 2018, in
                                                            his capacity as an ORR employee, he
18                                                          oversaw the staff responsible for the
19                                                          care of children at BCFS, referring to
                                                            BCFS as “our shelter”), Ex. S.
20
21    7.       ORR did not supervise or control the         Lack of personal knowledge;
                                                            speculation (FRE 602)
22             day-to day operations or detailed
                                                            De La Cruz does not have firsthand
23             physical performance of this program         knowledge of ORR’s actual oversight
                                                            over the specific BCFS facility that
24             or its staff. Instead, ORR’s
                                                            detained A.F.A.J. at the time of her
25             established policy and practice, as set      detention, and therefore cannot speak
                                                            to the extent of ORR’s involvement in
26             forth in the ORR Policy Guide in
                                                            the operations of the specific BCFS
27                                                          facility where A.F.A.J. was detained.
28                                                 - 60 -
     PLAINTIFFS’ EVIDENTIARY OBJECTIONS TO DEFENDANT’S PROFFERED EVIDENCE IN SUPPORT OF
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 1         ¶    Declaration of James De La Cruz               Grounds for Plaintiffs’ Objection
 2             effect since 2015, was only to                Unauthenticated document (FRE 901);
 3                                                           Inadmissible hearsay (FRE 802)
               conduct periodic monitoring visits (at
                                                             This document (ORR Unaccompanied
 4             least monthly) “to ensure that care           Children Program Policy Guide) is
 5                                                           unauthenticated (FRE 901) and is
               providers meet minimum standards
                                                             inadmissible hearsay. (FRE 802.) It
 6             for the care and timely release of            also lacks foundation as a business
 7                                                           record for purposes of FRE 803(6).
               unaccompanied [] children, and that
 8             they abide by all Federal and State
 9             laws and regulations, licensing and
10             accreditation standards, ORR policies
11             and procedures, and child welfare
12             standards.” ORR Unaccompanied
13             Children Program Policy Guide,
14             Section 5.5 (located at
15             https://www.acf.hhs.gov/orr/policy-
16             guidance/unaccompanied-children-
17             program-policy-guide).
18    8.       ORR increases the frequency of            Not relevant (FRE 401-402)
19                                                       ORR’s general monitoring practice of
               monitoring if it is warranted by issues
                                                         care providers is not at issue in this
20             identified at a facility. In addition, if litigation nor is it relevant to Plaintiffs’
21                                                       claim that A.F.A.J.’s injuries were
               ORR monitoring finds a care provider
                                                         directly caused by being forcibly
22             to be out of compliance, ORR issues separated from her father and being
23                                                       placed in an inadequate ORR facility
               corrective action findings and
                                                         for weeks.
24             requires the care provider to resolve
25                                                       Moreover, ORR’s general monitoring
               the issue within a specified time.
                                                         policy is not relevant to determining
26             ORR also provides technical               whether BCFS staff’s actions can be
27                                                       attributed to Defendant for FTCA

28                                                  - 61 -
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 1         ¶    Declaration of James De La Cruz               Grounds for Plaintiffs’ Objection
 2             assistance, as needed, to ensure that        liability, which is a fact-intensive
 3                                                          inquiry made by the finder of fact. See,
               deficiencies are addressed.
                                                            e.g., Schuyler v. United States, 987 F.
 4                                                          Supp. 835, 845 (S.D. Cal. 1997).
 5
      9.       Periodic monitoring to ensure            Not relevant (FRE 401-402)
 6                                                      ORR’s general monitoring practice of
               compliance with established
 7                                                      care providers is not at issue in this
               standards does not give ORR the          litigation nor is it relevant to Plaintiffs’
 8                                                      claim that A.F.A.J.’s injuries were
               ability to supervise or control the day-
 9                                                      directly caused by being forcibly
               to-day operations or detailed physical separated from her father and being
10                                                      placed in an inadequate ORR facility
               performance of the program’s staff,
11                                                      for weeks.
               nor does ORR attempt to do so. That
12
               is what ORR pays this program to do Moreover, ORR’s general monitoring
13                                                      policy is not relevant to determining
               through its grant award, and it is the   whether BCFS staff’s actions can be
14                                                      attributed to Defendant for FTCA
               program’s obligation under its
15                                                      liability, which is a fact-intensive
               cooperative agreement.                   inquiry made by the finder of fact. See,
16                                                      e.g., Schuyler v. United States, 987 F.
17                                                      Supp. 835, 845 (S.D. Cal. 1997).

18    10.      Section IV.H of the cooperative              Not relevant (FRE 401-402)
19                                                          ORR’s general responsibilities pursuant
               agreement, which sets out ORR’s
                                                            to the cooperation agreement is not
20             responsibilities, merely provided for        relevant to Plaintiffs’ claim that
21                                                          A.F.A.J.’s injuries were directly caused
               ORR’s monitoring of the programs’
                                                            by being forcibly separated from her
22             operations. This included confirming         father and being placed in an
23                                                          inadequate ORR facility for weeks.
               the project plan, submitting and/or
24             reviewing project expenditures,              Moreover, ORR’s general
25             participating in telephone status            responsibilities as laid out in the
                                                            agreement is not relevant to
26             meetings (monthly or as ORR                  determining whether BCFS staff’s
27                                                          actions can be attributed to Defendant
28                                                 - 62 -
     PLAINTIFFS’ EVIDENTIARY OBJECTIONS TO DEFENDANT’S PROFFERED EVIDENCE IN SUPPORT OF
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 1      ¶     Declaration of James De La Cruz                Grounds for Plaintiffs’ Objection
 2           otherwise required), keeping the              for FTCA liability, which is a fact-
 3                                                         intensive inquiry made by the finder of
             program apprised of policy
                                                           fact. See, e.g., Schuyler v. United
 4           developments, reviewing and                   States, 987 F. Supp. 835, 845 (S.D.
 5                                                         Cal. 1997).
             approving program’s Sub-awards to
 6           other organizations, reviewing and
 7           approving resumes of key personnel,
 8           reviewing policies and procedures for
 9           the program, providing training and
10           technical assistance as needed, and
11           reviewing written requests to deviate
12           from the project plan or approved
13           budget. These responsibilities are
14           consistent with ORR’s limited role
15           set forth in its Policy Guide as
16           described above.
17    11.    The cooperative agreement only                Not relevant (FRE 401-402)
18                                                         ORR’s general monitoring
             required ORR to conduct monitoring
                                                           requirements under the cooperation
19           activities to ensure compliance with          agreement is not relevant to Plaintiffs’
20                                                         claim that A.F.A.J.’s injuries were
             the Flores Settlement Agreement,
                                                           directly caused by being forcibly
21           pertinent federal laws and regulations        separated from her father and being
22                                                         placed in an inadequate ORR facility
             and the ORR policies and procedures
                                                           for weeks.
23           for the UAC program. Those
24                                                 Moreover, ORR’s monitoring
             activities included desk monitoring,
                                                   responsibilities as laid out in the
25           which is oversight from ORR           agreement is not relevant to
26           headquarters involving regular record determining whether BCFS staff’s
                                                   actions can be attributed to Defendant
27                                                 for FTCA liability, which is a fact-
28                                                - 63 -
     PLAINTIFFS’ EVIDENTIARY OBJECTIONS TO DEFENDANT’S PROFFERED EVIDENCE IN SUPPORT OF
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 1      ¶     Declaration of James De La Cruz               Grounds for Plaintiffs’ Objection
 2           reviews and regular calls with care          intensive inquiry made by the finder of
 3                                                        fact. See, e.g., Schuyler v. United
             provider Program Directors. They
                                                          States, 987 F. Supp. 835, 845 (S.D.
 4           also included announced and                  Cal. 1997).
 5           unannounced on-site visits. The
 6           agreement required the program to
 7           provide residential services for UACs
 8           by implementing the activities
 9           described in its approved application.
10           ORR had no right under the
11           cooperative agreement to supervise,
12           terminate, direct, or interfere with the
13           employment of any program staff.
14
15          Dated: January 19, 2024         Respectfully Submitted,
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28                                               - 64 -
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28                                             - 65 -
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